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IN 'H-IE UNITED STA'I`ES DISTR§CT COURT
FOR THE DHSTRICT OF MASSACHUSETTS

MSP RECOVER`Y CLAIMS, SER]ES, § CASE NO.: l;l$-CV»]O'Z"?¢L»ADB
LLC, a Delaware entity, §
MAO~MSO RECOVERY § DEMAND FOR JURY TRIAL
H, SERlES - PMPI LLC, a Delawal'e entity, §
and MSPA CLAIMS 1, LLC, a Florida § SECOND AMENDED CLASS
entity, § ACTION COMPLAINT
` §
P]aintiffs, §
V- §
§
WARNER CHILCOTT SALES (US), §
LLC-, ALLERGAN USA, INC., §
ALLERGAN SALES, LLC, ALLERGAN §
Gl, CORP, and ALLERGAN PLC, §
§
Defendants. §

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SECONDED AMENDED COMPLAINT

Plaintiffs, MSP Recovery Claims, Series LLC, a Delavvare entityj MSPA Clairns 1, LLC,

a Florida entity, and MAO-MSO Recovery II, Series - PMPI LLC, a Delavvare entity (coliectively
“Plaintiffs"’), bring this action against Defendants Warner Chilcott PLC, Wamer Chilcott
Corporation, Warner Chilcott Sales (US) LLC, Warner Chilcott (US), LLC, (collectiveiy “Warner
Chiicott), Actavis Pharma, lnc., and Allergari PLC (all collectively ‘°Defendants”), to redress
l?laintiffs5 injuries due to Defendants’ false or fraudulent acts constituting patterns of racketeering,
'Which have caused Plaintift`s to provide payment for pharmaceutical products that Would have
otherwise been deniedJ causing substantial benefit of the Defendants. Plaintiffs’ allegations, proof
and statistical data presented in this Second Amended Complaint (hereinafter "‘Complaint”) are
based on their own experiences and personal knowledge, their research, the research of their

counsel, publicly available articles, studies, and reports, as Well as other sources.

' INTRODUCTION

In approximately April 2016, Warner Chilcott pled guilty to one charge of healthcare fraud
against the government and its Medicare program in the United StatesDistrict Court for the District
of Massachusetts. (See Transcript of Plea Procee;dings,_ Case No. 1:15-cr-10327 (D. Mass. Apr.
15, 2016))1. The criminal plea came about in concert With a False Claims Act civil suit brought in
2011 by Whistebiowers against Warner Chiicott that Was unsealed on January 3, 2013. Wamer
Chilcott’ s guilty plea admitted to a scheme of fraud comprised of three general patterns of conduct:
1) the fraudulent use of “Medical Education” speaker events (“MedEd events”) to pump up

prescriptions from doctors of its entire line of prescription drugs and engage in illegal kickbacks',

 

1 Transcript of Plea Proceedings attached as “Exhibit A”.

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2) the fraudulent use of a “Prior Authorization” scheme to pump up prescriptions for its
osteoporosis drug Atelvia; and 3) the fraudulent use of false efficacy claims and studies to pump
up prescriptions for another osteoporosis drug, Actonel. The other drugs intertwined with Warner
Chilcottis fraudulent l\/ledlEd events were Asacol (400 ing), Asacol HD, lDoryx5 Enablexj Estrace
CrearnJ Loestrin, and Lo Loestrin (collectively the “Warner Products"’). These fraudulent practices
illegally induced health care professionals to prescribe, and patients to luse, its drug products, to
the detriment and injury of Plaintiffs and the underlying Medicare Advantage Organizations
(“MAOS”), Independent Practice A.ssociations (‘"IPAS”); l\/lanagement Service Organizations
(“l\/ISOS”), Health Maintenance lOrganizations ("‘Hl\/l()s”), land other l\/ledicare downstream
entities across the United States that assigned their claims to Plaintiffs.
PART§ES

Plain.tijjfs

1. MSP Recovery Claims,_ Series LLC, is a Delaware entity with its principal place
of business located at 5000 S.W. 75th Avenue, Suite 400, Miami, FL 33155. Numerous MAOS,
IPAs, l\/ISOs, Hl\/[Os and other Medicare downstream entities across the United States have
assigned their rights to MSP Recovery Claims, Series LLC`, to recover payments for fraudulently~
submitted prescriptions As a result of these assignments, MSP Recovery Claims, Series LLC, is
empowered and_has standing herein to pursue the claims of its Assignors that purchased‘Warner
Products as a result of the Defendants’ pattern of racketeering activity. Accordingly, Plaintiffs,
MSP Recovery Claims, Series LLC, by assignment, has suffered damages and now seeks
reimbursement for the money lost by these Assignors that were forced to pay for fraudulently

submitted Warner Products.

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2. Plaintiff MSPA Claims 1, LLC is a Florida entity, with its principal place of
` business located at 2600 Sv Douglas Rd.j Suite 1008, Coral Gables, FL 33134. MSPA Claims 1 is
a citizen of the State of Florida and is not a citizen of the state of any of the Defendants. Numerous
MAOs, IPAS, l\/ISOs, Hl\/lOs and other l\/ledicare downstream entities across the United States
have assigned their rights to l\/ISPA Claims l, LLC, to recover payments for fraudulently- _
submitted prescriptions As a result of these assignments, MSPA Claims 1, LLC, is empowered
and has standing herein to pursue the claims of its Assignors that purchased Warner Products as a
result of the Defendants" pattern of racketeering activity. Accordingly, Plaintiff, MSPA Clairns 1,l
LLC, by assignment, has suffered damages and now seeks reimbursement for thermoney lost by
these Assignors that were forced to pay for fraudulently submitted `Wamer Products.

3. Plaintiff, MAO-MSO Recovery ll, LLC, Series PMPI is a Delaware entity with its
principal place of business at 45 Legion Drive, Cresskill, NJ 07626. Nurnerous l\/lAOs, IPAs,
MSOS, HMOs and other Medicare downstream entities across the United States have assigned
their rights to l\/IAO»-MSO Recovery Il, LLC, Series PMPI to recover payments for fraudulently-
inflated prescriptions As a result of these assignments, MAO-MSO Recovery 11, LLC, Series
PMPI is empowered and has standing herein to pursue the claims of its Assignors that purchased
Warner Products as a result of the Defendants’ pattern of racketeering lactivity. Accordingly,
Plaintiff, MAO-MSO Recovery_ Ill, LLC, Series Pl\/IPI by assignment, has suffered damages and
now seeks reimbursement for the money lost by these Assignors that were forced to pay for
fraudulently submitted Warner Products.

Plaintiffs’ Assignors paid Medicare benefits on behalf of the Medicare»eligible

beneficiaries enrolled under the Medicare Advantage (“MA’§) program. Named

Defendants

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4. At times material to this Complaint, Defendant Warner Chilcott plc was a publicly
traded, for-profit Company organized, existing, and doing business under the laws of ireland, with
its office and principal place of business located at 100 Enterprise Drive, Rockaway, Ne;w Jersey
07866»-2129. Through its direct and indirect subsidiariesJ `Warner Chilcott plc was engaged in the
discovery, development, manufacturing, marketing and distribution of pharmaceutical products
including the Warner Products. -On October 1, 2013, Warner Chilcott plc was acquired by Actavis'
.plc, which later renamed itself Allergan plc, after Actavis° purchase of Allergan, inc.

5. At times material to this Complaint, Warner Chilcott Sales (US), LLC was a wholly
owned subsidiary.of Warner Chilcott Corporation. Warner Chilcott Sales (US), LLC is organized
exists and does business under the laws of the State of Delaware with a principal place of business
at 100 Enterprise Drive, Rockaway, New Jersey 07866-2129. On O‘ctober 1, 2013', Wamer Chilcott
Sales (US) was acquired by Actavis plc, which later renamed itself Allergan plc, after Actavis’
purchase_of Allergan, lnc. Warner Chilcott Sales (US), LLC can be served through its Resident
Agent: RT Corporation System, 155 Federal St., Suite 700, Boston, l\/IA 02110.

6. Allergan USA, lnc., is a wholly owned subsidiary of Allergan plc. Allergan USA,
Inc. is a Delaware corporation with its principal place of business located at 5 Giralda Farms,
Madison, NJ 07940. Allergan USA, lnc. can be served through its Resident Agent:-CT Corporation
l system 155 Federal sr sra 700, BOStOn,_ MA 02110.

7. Aliergan Sales, LLC, is a wholly owned subsidiary of Allergan plc. Allergan Sales,
LLC is a Delaware corporation with its principal place of business located at 5 Giralda Farms,-
Madison, NJ 07940. Allergan Sales, LLC can be served through its Resident Agent: CT
Corporation System, 155 Federal St., STE 700; Boston, l\/iA 02110. _

8. Allergan Gl, Corp., is a wholly owned_Subsidiary of Allergan plc. Allergan GI,

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Corp., is a Delaware corporation with its principal place of business located at 5 Giralda Farms,
l\/ladison, NJ 07940. Allergan Gl, Corpv, can be served through its Resident Agent: CT Corporation
System, 155 Federal Street, Suite 700, Boston, l\/IA 021l6.

9. Allergan plc is a public limited company incorporated under the laws of lreland,
with its principal place of business at 1 Grand Canal Square, Docklands Dublin 2, ireland Allergan
maintains a place of business within the United States at l\/Iorris Corporate Center ill, 400 lnterpace
Parkway, Parsippany, New Jersey, 07054, Allergan was known as “Actavis plc” until June 15,
2015, when it began operating under its current name. Throughout the relevant time period of this
Complaint, Allergan markets brand and generic pharmaceuticals throughout the United States and
has commercial operations in the United States and approximately 100 countries around the world.
Allergan became a successor in interest to Warner Chilcott plc when it acquired Warner Chilcott
plc on October 1,l 2013.

10. The term “Wamer Chilcott” when used in this Complaint shall mean the collection
of both the current parent and its subsidiary companies and executives and agents thereof, acting
in concert with the company directive and policies therein l

11. In North America, Warner Chilcott’s product line focuses on gastroenterology,
women’s healthcare, dermato_logy, and urology pharmaceutical markets Warner Chilcott has an
expanded sales force and infrastructure promoting its products throughout the United States,
including in this judicial district

Unnamed Co-Conspirators

12. Although not named as parties, the following co-conspirators violated 18 U`.S.C. §
1962 (c) and (d) by actively participating in Warner Chilcott"s scheme to market, provide

kickbacks, and induce the prescribing and subsequent reimbursement for the products alleged

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herein, which had the intended result of defrauding Plaintiffs and the members of the putative

Class:

John Does #1-100, fictitious names, are unnamed health care professionals,
individuals, corporations, limited liability companies, or other lawful business
entities who conspired with Wamer Chilcott to perpetuate the schemes

described herein.

. At one 'point, Warner Chilcott enlisted 3,300 speakers nationwide to be

‘"promotional speakers” for its products
Dr. Hans»Juergen Stein is a doctor in Troy, Michigan, attended a happy hour

aimed at increasing prescriptions of Asacol HD, at Ruth Chris’ Steakhouse.

. Dr. Omar Kadro is a doctor in Troy, Michigan, attended a happy hour aimed at

increasing prescriptions of Asacol HD, at Ruth Chris’ Steakhouse.

Dr. l-larry Wasvary is a doctor in Troy, l\/iichigan, attended a happy hour aimed
at increasing prescriptions of Asacol HD, at Ruth Chris’ Steakhouse.

Dr. Michael Piper is a gastrointestinal doctor in Bingham Farms, l\/lichig`an, and
attended a happy hour at Shiraz Restaurant aimed at increasing prescriptions in

Asacol Hd.

. Dr. Mark Devore is a gastrointestinal doctor in Bingharn Farms, l\/Iichigan, and .

attended a happy hour at Shiraz Restaurant aimed at increasing prescriptions in

Asacol Hd.

. Dr. Bradley Warren is a gastrointestinal doctor in Bingham Farrns, Michigan,

and attended a happy hour at Shiraz, Restaurant aimed at increasing

prescriptions in Asacol Hd.

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i. Dr. Randall Jacobs is a gastrointestinal doctor in Bingham Farrns, l\/iichigan,
and attended a happy hour at Shiraz Restaurant aimed at increasing
prescriptions in Asacol Hd.

j. Dr. T_imothy Nostrant, a professor of gastroenterology, pediatric
gastroenterology, and internal medicine at the University of Michigan,'who in
2010 alone, was paid $216,000 from Warner Chilcott to give 72 promotional
programs titled "‘How to lncrease Revenue and Decrease Jail Time.”

k. Dr. Mam`sh Gopal of South River, NJ, was paid $5,600 to be a “promotional
speaker” for Estrace Cream.

l. Dr. Joesph Berger of New York, NY, was paid $16,800 to be a “promotional
speaker” for Estrace Cream.

m. Dr. Eric Elias of Breaux Bridge, LA, was paid $2,100 to be a “promotional
speaker” for Estrace Cream.

n. Dr. Darryl Boffard of Short Hills, NJ, was paid $9,800 to be a “promotional
speaker” for Loestrin.

o. Dr. Jacquelyn Cortez of Placentia, CA, was paid $21,000 to be a “promotional l
speaker” for Loestrin.

p. Dr. Eleonora Fedonenko of Los Angeles, CA was paid $l2,600 to be a
“promotional speaker” for Actonel.

q. Dr. Michael Lewko of Clifton, NJ, was paid $6,000 to be a “promotional
speaker” for Atelvia.

r. Dr.l Robert Fogari of Jersey City, NJ was paid $6,000 to be a “_promotional

speaker” for Atelvia.

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s. Dr. Steven l\/laislos of Houston, TX, was paid $4,900 to be a “promotional
speaker"’ for Enablex.-

t. Numerous staff members of physician’s offices are also unnamed co-»
conspirators by providing and transmitting manipulated prior authorization
forms in conjunction with Warner Chilcott Sales Representatives for Warner
Chilcott Products.l

.]`URISDIC'HON AND VENUE

13. lThis Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as
Plaintiffs’ claims arise under federal law, and under 18 U.S.C. § 1964(c) as this action alleges
violations of the Racketeer lnfluenced and Corrupt Organizations Act, 18 U.S.C. § 1962.

14. The Court has personal jurisdiction over each Defendant Each Defendant has
transacted busi_ness, maintained substantial contacts, and/or committed overt acts in furtherance of
the illegal scheme and conspiracy throughout the United States. The scheme and conspiracy have
been directed at, and havehad the intended effect of, causing injury to persons residing in, located
in, or doing business throughout the United States, including in this district 15 U.S.C. § 22
provides for nationwide service of process

15. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and (c),
because each Defendant transacts business in, is found in, and/or has agents in this district, and
because some of the actions giving rise to the complaint took place within this distriet. Venue is
also proper in this district pursuant to 29 U.S.C. § 1132(e)(2), because Defendants reside or may
be found in this district and some or all of the fiduciary breaches or other violations for which
relief is sought occurred in or originated in this district Venue is also proper-in this district pursuant

to 18 U.S.C. § 1965, because most Defendants reside, are found, have an agent, or transact their

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affairs in this district, and the ends of justice require that any Defendant residing elsewhere be
brought before this Court. Venue is also proper in this district pursuant to 15 U.S.C. § 22 because

most Defendants inhabit, are found, have an agent, or transact business in this district l

STANDING

16, Plaintiffs’ Assignors administer l\/ledicare benefits for Medicare beneficiaries
under l\/[edicare Part C and/or l\/ledicare Part D', whether said rights arise from (i) contractual
agreements such as participation and network agreements with capitatio_n and risk sharing
arrangements and/or (ii) state and federal laws that provide for the reimbursement of payments
made by_ the assignor health plans, including the right to recover claims for health care services on '
a fee-for-service basis

17. Representative assignments to Plaintiffs, which are alleged i_n detail in the
Appendix to this Complaint, are valid and binding contracts

18. At all material times hereto, one or more of Plaintiffs’ Assignors provided Medicare
benefits to Medicare Advantage plan beneficiaries including payment for the beneficiaries’
prescriptions for Wamer-Chilcott products Attached hereto as Exhibit B is a non-exhaustive list

of instances wherein Plaintiffs’ Assignors paid for Warner Products for their beneficiaries

STATUTORY FRAMEWORK FOR FRAUD COMMITTED BY DEFENDANTS
l The Social Security Act & Medicare
19. The' Social Security Act became law on August l4, 1935. Social Security has
grown over the years to encompass more individuals and is now ‘_‘the foundation of economic
security for millions of Americans_retirees, disabled persons, and families of retired, disabled or
deceased workers About 169 million Americans pay Social Security taxes and 61 million collect
monthly benefits About one family in four receives income from Social Security.” See Nat.

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Academy of ‘Socq ins., https://www.nasi.org/learn/socialsecurity/overview (last visited March 23,
2018). “'84% percent of all people 65 and older get Social Security.” See Social Security Primer
at 7, https://www.nasi.org/socialsecurityprimer (last visited March 235 2018).

20. in 19_65, Congress amended the Social Security hot to create the Medicare Act
under Title X`VIIIq The l\/ledicare Act created a federally funded health insurance program for the
nation’s elderly and disabled The Medicare Act consists of five parts - Part A, B, C, D and E.
Part A and Part B “create, describe, and regulate traditional fee»for-»service, government-
administered Medicare.” fn re Avandia. Mktg. Sales Practices and Products Lidbility Litigcirion,
685 F.3d 353, 357 (3rd Cir. 2012) (citing 42 U.S.C. §§ 13950 to 1395i-5', 1395j to l395w). Part
`C outlines the Medicare Advantage program and provides that l\/ledicare beneficiaries may elect
for private insurers to deliver their l\/ledicare benefits to them. 42 U.S.C. §§ 1395w-21-29. Further,
Part D provides for prescription drug coverage to Medicare beneficiaries and Part E contains
miscellaneous provisions related to 42 U.S.C. §§ 1395x and 1395y. Plaintiffs’ Assignors operate
primarily under Parts C and D.

21. An enrollee’s health coverage with a MAO is strictly construed and regulated by
Centers for Medicare and Medicaid Services (“CMS”). So much so that CMS provides detailed
templates for MAOS to use when they create documents including an evidence of coverage that
is provided to enrollees See CMS, https://www.cms.gov/Medicare/Health-
Plans/ManagedCareMarketing/MarketngModelsStandardDocumentsandEd-ucationall\/laterial._htm
loan visited Aprii 5, 2018)..

22. l ln essence, Medicare Part C is the functional equivalent of original Medicare.
See 42 C.F.R. §§ 422.108(§, 422.101; Honey v. Bayhealth Med. Ctr., Inc. , 2015 Del, Super. LEXIS

378, at *18 (Del. Super. Ct. July 28, 2015) (holding “an MAO is squarely within the traditional

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Medicare system”). Thus, fraud committed under Part C (or Part D) against an l\/lAO is akin to
fraud against the government and l\/ledicare itself

Tire Medicare Part C Program

23. "‘Since the 1970s l\/ledicare beneficiaries have had the option to receive their
Medicare benefits through private health plans,l mainly Health Maintenance Organizations
(“HMOS”), as an alternative to the federally administered traditional Medicare program.” Kaiser
Family Foundation, http'.//kff.org/medicare/fact»sheet/medicare-advantage/ (1ast visited l\/larch 23,
2018). The Balanced Budget Act of 1997 named Medicare’s managed care program
“l\/ledicare+Choice” and the Medicare l\/lodernization Act (l\/IMA.) of 2003 renamed it “l\/ledicare
Advantage. ” Ici'., see also Colltns v Wellcare Healthcare Plans, Inc., 73 F. Supp. 3d 653 659
(E.D. La. 2014). “The congressional goal in creating the l\/ledicare Part C option was to harness
_ the power of private sector competition to stimulate experimentation and innovation to create a
more efficient and less expensive l\/ledicare system.” D. Gary Reed, `Medicare Advantage
Misconceptions Abouna', 27 Health Law 1, 3 (2014). Congress sought to achieve this goal by
implementing a program wherein the government would pay private health insurers a flat rate per
enrollee to administer and provide the same basic benefits received under traditional Medicare.
See Honey v. Bayhealth Med. Ctr., lnc., 2015 Del. Super. LEXIS 378, at b*‘7-17 (Del. Super. Ct.
July 28, 2015). Pursuant to this framework, an l\/IAO pays providers directly for the care received
by Part C enrollees Id, at *10. To the extent that this care exceeds the flat rate received from the
government,l an MAO assumes the risk and cost. Id. 1f care costs less than the flat rate received,
an MAO is permitted to keep the difference as a profit. Id.

24. To be approved to be an MAO, a private insurer must enter a bidding process,

meeting certain threshold requirements Id. MAOS must also be licensed in each State in which

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they operate [d. l\/lAOs must offer an ‘°[evidence] of coverage” annually, approved by CMS to
enrollees Ia’. ln providing the basic benefits offered to traditional l\/iedicare enrollees, MAOS must
abide by national coverage determinations provided by CMS. Ia.’. ln addition, all coverage disputes
between enrollees, and MAOS must go through the traditional l\/iedicare appeals process Id. at
*11. The decisions coming out of the Medicare appeals process are, moreover, binding upon an
MAO. Id.

25. It is the federal government which sets the fixed rate at which l\/lAOs will be
remunerated. Id. at f 12. Likewise, the federal government establishes the basic services that each
Part C private insurer participant must provide. Id. These private health insurers are, further,
constrained in their ability to deny coverage, limited to the decisions of federally anointed
adjudicators Id. The discretion permitted to these private insurers is within this federally created
framework - not outside or even alongside it. Ia'. at *12»1_3. Under Part C, the contract is between
the federal government and the insurer Id. at *13.

l Plaintiffs ’ Assignors

26. By way of background, Plaintiffs’ Assignors entered into a contract with CMS to
provide Medicare benefits in accordance with the Medicare Part C program to Medicare-eligible
enrollees and, in return, received a per capita fee from CMS. See Humana Med. Plan; Inc. v. W.
Herz`mge Ins. Co., 2016 U.S. App. LEXIS 14509, at *11 (11th Cir. 2016) (“Under the Medicare
Advantage program, a private insurance company, operating as an MAO, administers the provision
of l\/ledicare benefits pursuant to a contract with CMS. CMS pays the MAO a fixed fee per enrollee,
and the MAO provides at least the same benefits as an enrollee would receive under traditional

Medicare.”)', See also 42 U.S.C. §§ l395w-22(a), 1395w-23. Therefore, the defining factor of

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a truly private insurance plan, one between insured and an insurer., is lacking See W.
Heritage Ins. Co,, 2016 U.S. Appr LEXIS 14509 at *11.

27. In sum, l\/lAOs are more akin to traditional l_\/ledicare, rather than a private health
insurance plan. Id. at `"”‘ 16-»17 (“There is no such thing as a [M]edicare Advantage insurance
policy.”). Medicare Advantage is, instead, a federal program Id.

Tlre Medicare Pian _D Program

28. l\/iedicare Part D coverage is a voluntary prescription drug benefitlprogram for
l\/ledicare beneficiaries established in 2003. A beneficiary may enroll in Part D if he or she lives
in the service area of a Part D plan and is entitled to l\/ledicare benefits under Part A or enrolled
under Part B.

29. Unlike Parts A and B, yet similar to l\/ledic_are Part C, l\/ledicare Part D is based on
a private market model, wherein Medicare contracts with private entities, known as Part D
“sponsors” to administer prescription drug plans

30. The Part D plan sponsor must provide qualified prescription drug coverage which
includes “standard prescription drug coverage” or “alternative prescription drug coverage” with at
least actuarially equivalent benefits j

31. A Plan D sponsor submits a bid in the year prior to the calendar year in which Part
D benefits will be delivered The bid contains a per member per month cost estimate for providing
Part D benefits to an average Medicare beneficiary in the geographic area.

32. 1f the Plan D plan sponsor’s bid exceeds the benchmark, the enrolled beneficiary 1
must pay the difference as part cfa monthly plremium. CMS then provides each Part D plan sponsor
with advance monthly payments equal to the Part D plan sponsor’s standardized bid.

An Example of How Defendants’ Fraudulent Inflation of Drug Prices Injures
Participants and Plan Sponsors

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33. lln 2017, for Medicare Part D beneficiaries there is an initial 8400 deductible phase
during which many l\/ledicare Part D plan participants must foot the entire bill for their prescription
drugs which have been frauduiently inflated as a result of Defendants’ conduct

34. After meeting the $400 deductible, Medicare Part D sponsors are responsible for
75% of all payments in the second phase. Beneficiaries stay in this phase until they and the plan
have spent a total of 83,700 on covered drugs Paying 75% of an inflated price injures these
sponsors l

35. Upon hitting the second coverage breakpoint, the beneficiary is in what is known
_as the l\/ledicare Part D “DonutlHole,” which refers to a coverage gap phase where the beneficiary
must pay for branded drugs at 40% of the list price. The manufacturer discounts branded drugs
by 50%, and the plan pays the remaining 10%. Again, the percentage-of-cost requirement means

that inflated drug prices hurt Part D sponsors in this third coverage phase.

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36. A beneficiary leaves the coverage gap and is covered again after spending a total
of $4,950 out-of»pocket-_Which is also when total drug costs covered by the participant5 the plan,
and discounts reach'$'/'AZS. At which point, the Part D Sponsor pays 15% of the list price, While

original Medicare pays 80%.

Standard Ntedie:are Prescrtptten Dreg Benettt§ 2913
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SC`}URCF,'. fists-er family teenda\ion illustration of standard Medic.are drug benefit for 201?.

 

The FDA Regnlatory System
37. ' Under the Food, Drug and Cosmetics Act (“FDCA”), 21 U.S.C. §§ 301-97, new
pharmaceutical drugs cannot be marketed in the United States unless the sponsor of the drug
demonstrates to the satisfaction of the FDA that the drug is safe and effective for each of its
intended uses. 21 U.S.C. § 355(a), (d). Appr`oval of the drug by the FDA is the final step in a multi-
year process of study and testing, and manufacturers are prohibited from marketing a drug in the

United States that is not considered °‘safe and effective” for its intended and manufacturer

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stated use, pursuant to FDA regulations

38. The standards that govern the FDA safety and effectiveness requirements are
contained in statutes, regulations, notices, and guidance documents The statutory requirement that
a drug’s effectiveness be demonstrated by “adequate and well-controlled clinical investigations”
has been interpreted to mean a clinical study with (l) clear objectives; (2) adequate design to permit
a valid comparison-with a control group; (3) adequate selection of study subjects; (4) adequate
measures to minimize bias; and (5) well-defined and reliable methods of assessing subjectsj
responses to treatment See 21 C‘,F.R. § 314.26. Defendants’ fraudulent conduct in{niarketing
their drugs in the United States flouted the FDA’s regulations and guidelines and they have
admitted to Same. l

39. l Because of the modern evolution of clinical studies and science producing more
reliable results, the FDA has been given broaderlatitude in reaching a determination that a drug is
safe and effective for its intended use. _But in all cases, a proper efficacy study and at least one
robust clinical trial must be conducted pursuant to the regulations

The Key Companents of Drug Labeling and Marketing

4(). A prescription drug’s product labeling is a key component of the FDA approval
process and the FDA continues _to exercise control over product labeling even after a drug is
approved. From time to time, drug labels may be modified to reflect new data and to protect
patients from safety concerns ' Rarely, a drug may be withdrawn from the market See 21 C.F.R.
§ 201.57(3).

41. A manufacturer like Warner Chilcott, wishing to market or otherwise promote an
approved drug for uses other than those listed on the approved label must resubmit the drug for a

series of clinical trials similar to those required for the initial FDA approval See Food and Drug

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Administration l\/lodernization Act of 1997 (“FDMA”), 21 U.S,C. §§ 360aaa(b)j (c)', see also 21
CHF.R, § 314.54 (outlining the administrative procedure for filing an application for a new
indication); 21 U.S.C. §§ 301 et Seq. A supplemental New Drug Application must be filed. Unless
and until an additional indication_is approved by the FDA, any unapproved use is considered to be
“off*label.”

42. “’Off~label” refers to the use of an approved drug for any purpose, or in any manner,
other than what is described in the drug’s labeling Off-label use includes treating a condition not
indicated on the label, treating the indicated condition at a different dose .or frequency than
specified on the label, or treating a different patient population than specified on the label, e.g.,
treating a child when the drug is only approved to treat adults

43. Off-label information may be disseminated only in response to an “unsolicited
request from a healthcare practitioner.” 21 U.S.C. § 360aaa-6. fn any other circumstance, a
manufacturer may disseminate information concerning off-label use only after it has applied to the
FDA seeking approval of the drug for the off-label use and has provided the materials to the FDA
prior to dissemination; and the materials themselves are submitted in unabridged form and are
neither false nor misleading 21 U.S.C. §§ 360aaa(b) & (c); 360aaa-l.

'44. Thus, the FDA prohibits labeling - including all marketing and promotional
materials relating to a drug - that describes intended uses for a drug that have not been approved
by the FDA. 21 U.S.C. §§ 331, 352. Promotional materials may only make claims that are
' supported by “substantial” scientific evidence (according to strict scientific procedures) and they
may not be false or misleading lllegal “misbranding” can result in criminal penalties See 21
U.S.C. § 333. “Of`f-lahel” marketing and “misbranding” may result in criminal penalties,

and underlies the criminal conduct admitted to by Defendants here.

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43 The prohibitions on off~»“label marketing and misbranding apply With equal force to
manufacturer promotions to both healthcare providers (doctors) and consumersl
46. Although the FDA is responsible for ensuring that a drug is safe and effective for
the specific approved indication, the FDA does nor regulate the practice ofmedicine., Once a drug
is approved for a particular use, the FDA does not prohibit health care professionals from
prescribing the drug for uses that are different than those approved by the FDA. When considering
off-label prescribing, health care professionals depend on the patient-specific evidence they have
available to them. This includes the particular patient, the severity of his or her problems, the
successfulness of prior treatment, and the risks of not treating Whether contemplating on~ or off-
label use, health care professionals also rely on personal experience, recommendations from
colleagues and academics, educational seminars, and evidence from clinical trials. Much of what
health care professionals rely on is information (or, as thercase may be, misinformation) provided
,by sales representatives from drug manufacturers, manufacturer-sponsored continuing medical
education (“Cl\/lE”) courses and speaker programs, and manufacturer~sponsored clinical trials.

l 47. n Although health care professionals may prescribe drugs for off-label usage, the law
prohibits drug manufacturers from marketing or promoting a drug for a use or patient group that
the FDA has not approved The FDA “interprets the term ‘advertisement’ to include information
(other than labeling) that originates from`the same source as the product`and that is intended to
supplement or explain the product.” See Final Guidance on lndustry Supported Scientific and
Educational Activities, 62 Fed. Reg. 64,074 (Dec. 3, 1997). Any manufacturer speech explaining
one of its products is an “advertisement” for the product and is subject to the prohibitions against
off~label marketing in 21 C.F.R. 202.1,` as well as the FDA’ s “fair balance” requirement, described

below. Id.

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48. The FDA regulations that fall under the general rubric of 21 C.F.R. 202..1(e)(6), er
seq. , ban advertisements that are false, lacking in fair balance, or otherwise misleading The use of
unsubstantiated comparative claims is also prohibited by laW. See 21 U.S,C. § 352; 21 C.F.R. §
202¢1(e)(6). Thus, companies such as Warner Chilcott may not promote their approved drugs
through unsubstantiated comparative claims that exalt their drugs as safe as or more efficacious
than competitors’ drugs. Such promotion renders a drug “'rnisbranded” and no longer eligible for
reimbursement by federal programs, including l\/ledicare.

49. The FDA has interpreted oral communications as falling under the umbrella of
“labeling.”

5(). ln sum, the off»label regulatory regime protects patients and consumers by ensuring
that drug companies do not promote drugs for uses other than those found to be safe and effective
by an independent, scientific government body - that is, the ‘r`DA. And the prohibition on
unsubstantiated comparative claims protects patients and consumers by ensuring that the
prescription and use of approved drugs is not based on misleading marketing tactics. l

51. Defendants here have admitted to fraudulently misinforming healthcare
professionals as to efficacy and use to pump up the sales of certain of their drugs.

Drug Samples and Coupon Abuses, Accumte departing by Providers

52. The federal Prescription Drug Marketing Act (“PDMr/§f”) prohibits manufacturers
from trading on free samples or coupons 21 U.S.C. §3 53 provides, “No person-may sell, purchase,
or trade or offer to sell, purchase, or trade any drug sample” (emphasis added). In addition, “No
person may sell, purchase, or trade, offer to sell, purchase, or trade, or counterfeit any coupon. For
purposes of this paragraph, the term ‘coupon’ means a form which may be redeemed, at no cost or

- at a reduced cost, for a drug which is prescribed in accordance with section 503(b)-” (emphasis

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added).

53. Warner Chilcott abused its free samples and coupon program by offering a “trade”
With health care professionals to prescribe its drug products Warner Chilcott°s offers to “trade"’
its free products and coupons in exchange for prescriptions succeeded, and, in doing so, violated
the letter and spirit of the PDl\/lA.

54. Moreover, federal law specifically prohibits providers from making “any false
statement or representation of a material fact in any application for any payment under a federal
health care program.” See 42 U.S.C. §1320»a-’7b(a)(l). Providers who discover material omissions
or errors in claims submitted to Medicare, l\/ledicaid, or other federal health care programs must
disclose those omissions or errors to the government See 42 U.S.C. §l320-a~7b(a)(3). The
requirement that providers be truthful in submitting claims for reimbursement is a precondition for
participation in the Medicare program, the Medicaid program, and other federal and state funded
health care programs See, e.g., 42 CFR §§ 1003.105, 1003.102(a)(l)-(2).

The Anti-Kickback Statute

55. Soon after the establishment of the l\/Iedicare and l\/ledicaid programs unethical
provider practices began to develop. Problematic arrangements took various forms, including
Without limitation, percentage lease agreements and payment of test interpretation fees to
physicians Who referred testing without performing the interpretation themselves

56. To combat these unethical practices Congress passed the original version of the
Anti-Kickback Statute (“AKS”) in 1972 The statute made the receipt of kickbacks bribes, or
rebates in connection with items or services covered by the Medicare and Medicaid programs a
crime.

57. The AKS makes it a crime to knowingly and willfully offer, pay, solicit or receive

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any remuneration to induce a person to purchase or recommend any good, service, or item covered
under a federal health care program See 42 U.SrC. § 1320a~7b(b).

58.7 Compliance with the AKS is a condition of payment in federal health care
programs Claims that include items or services resulting from a violation are not payable under
federal health care programs

59. The foundation of the AKS is based on the realization that kickbacks in health care
can lead to overutilization of medical services or products increased program costs corruption of
medical decision making, patient steering, and unfair competition

60i A violation of the AKS a even if the service or item was medically necessary,
provided, and appropriately billed » constitutes a per se violation of the FCA.

61. Further, the ACA amended the AKS to provide that “a person need not have actual
knowledge or specific intent to commit a violation.” See 18 U.S.C. § l347`(b).

62. lt is enough that a defendant knew or should have known (a disregard of readily
available information in the profession), that the conduct was generally unlawful
ln l\/lay 2003, the Office of the inspector General (“OIG”) of Health and Hurnan Services (“HHS”)
released guidance identifying in greater detail several marketing practices of drug manufacturers '
that constitute “kickbacks and other illegal remuneration” infecting federal health care programs
OIG Compliance Program Guidance for Pharmaceutical Manufaoturers, 68 Fed. Reg. 23731 (May
5, 2003). The 2003 Guidance cautions manufacturers that any time a manufacturer provides
anything of value to a physician who might prescribe the manufacturers product(s), the
manufacturer should examine Whether it is providing a valuable tangible benefit to the physician
with the intent to induce or reward referrals The OIG Guidance lists the following, among others

as suspect practices:

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(a) lmproper Switching Arrangements: These are arrangements by which
pharmaceutical manufacturers offer physicians cash or other benefits to
change prescriptions from a competitors product to the manufacturers
product `

(b) ` Improper Consulting and Advisory Payments: These are payments made
pursuant to less than bona fide consulting or advisory arrangements such
as payments to physicians for simply attending meetings or conferences in
a passive capacily, or for services connected with a manufacturer’s
marketing activities

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time spent listening to sales repres_<-:ntatives5 market pharmaceutical .
products or for accessing web sites to view marketing information

(d) lmproper Business Courtesies and Otherl Gratuities: These are gifts such as

_ merchandise of more than trivial value, entertainment, recreation, travel,

meals and other gratuities furnished in association with information or
marketing presentations

(e) lmproper Educational and Research- Funding: This refers to funding for
research or education that is initiated or influenced by the manufacturers
sales or marketing departments Id. at 23731-39.

 

63. Compliance with the Anti-Kickback law is a precondition to participation as a 7
health care provider under Medicare, Medicaid, CHAMPUS/TRICARE, CHAMPVA, the Federal
Employee Health Benefit Program, and other federal health care programs

64.` Defendants have admitted to committing healthcare fraud in violation of the
AKS.

FACTUAL ALLEGATIONS
Defendants Admitted to Violating the Anti-Kickback Statute

65. On April 15, 2016, U.S. Attorney David Schumacher stated at Warner Chilcott’s
sentencing hearing: “Had this case gone to trial, the government would have proven beyond a
` 1 reasonable doubt that Warner Chilcott committed healthcare fraud.” See Transcript of April 15, _

2016 l-learing at 12:8w10, Case No. 1:15-cr-10327 (D. Mass.) (“Transcript” or “Exhibit A”). The

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government went on to detail for the Court the specifics of Warner Chilcott’s "‘multi-prong°°
scheme to defraud Medicare. Specifically, three schemes were enumerated by the government 1)
illegal kickbacks through “MedEd” events and similar programs (affecting all products identified
here); 2) the manipulation of “prior authorizations” (insurance fraud) with regard to Atelvia and

Actonel; and 3) unlawful promotion of Actonel, primarily by wrongfully stating it was clinically

conspirators

Scheme 1 - The Kickhacks Affecting All Warner Chilcott Products,

on»Wamer Chilcott drugs The physicians mentioned herein are unnamed co~

66. The crux of the Warner Chilcott fraud was the use of kickbacks (in violation of

the AKS). For instance,

kickbacks were

the entire sales force was to obtain prescriptions by giving things to healthcare
professionals by taking them out for repeated dinners by signing up the highest
prescribers to speaker engagements and then once the speakers were signed up, if
they weren’t prescribing at a sufficient level, Warner Chilcott Sales employees
were instructed that they should inform the doctors that if they didn’t write more
prescriptions that they would no longer be used at future paid speaking events

These dinners were euphemistically labeled “medical education events” or
c‘MedEd events_.” ln fact, there was very very little, if any, education that was
provided at a typical dinner. The sales force was instructed that they should not
hold educational didactic programs but rather just take the doctors out to a nice
dinner, no agenda and just build a relationship over a relaxed dinner amongst
friends at some of the nicest restaurants in town.

Prescribers were taken out to repeated dinners there were no limits with
respect to the sales representatives7 expense accounts ln fact, they had to do two
dinners two of these dinners a week as a condition of their employment, and they
were structured to then leverage their relationships by demanding prescriptions in
response to the dinners ‘

Transcript at 12:20 - 13:17 (emphasis supplied).

67. The U.S. Attomey went on to explain that Warner Chilcott’s MedEd events and

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“a core” Warner Chilcott tactic and that it existed across all of its product lines

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and divisions Transcript at 13:12. Therefore this fraud included the following drugs all of which
are at issue here: Atelvia, Actonel, Asacol HD, DoryxJ Enablexj Estrace Cream, Loestrin, and Lo
Loestrin (hereinafter collectively referred to as “'Warner Chilcott Products”). These drugs were
Warner Chilcott Products at all material times to the allegations of this Complaint

68. The fraudulent kickback scheme, which included the MedEd events and speaker
fees, as well as happy hours, preceptors_hip fees, concert and event tickets, and golf trips, was an
effective means of inducing health care professionals to prescribe the Warner Chilcott Products,
and of inducing their staffs to facilitate reimbursement of the Warner Chilcott Products through
prior authorizations As a result of the illicit scheme, government programs and Plaintiffs’
Assignors reimbursed Defendants monies they were not entitled to.

MedEd Overview

69. Wa:rner Chilcott has used promotional speaker programs as the core tool to sell its
products The majority of these speaker programs however, lacked speakers These nonspeaker
events have essentially been “happy hours” for doctors and/or their staffs. l\/lanagers instructed
sales representatives to invite “high-decile” health care professionals that is, those with a high-
volume prescribing potential; the staffs of difficult-to-see doctors', and/or staff in charge of
processing prior authorization paperwork

70. The aim of this strategy was to convince health care professionals and their staffs
that they owe sales representatives for the drinks, dinners, and speakers fees that have been
provided to them. Sales representatives sought health care professionals’ commitment to prescribe
Warner Chilcott Products. In the FCA complaint that gave rise to the criminal plea at issue here,
former employees of Warner Chilcott (hereinafter “Relators”) told how they were instructed by

their Warner Chilcott managers to “beat doctors into the ground” if they failed to follow through.

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As new hires, Relators were told to “call doctors on their shit.” That is, if a doctor told a
representative he wrote (or will write) a prescription for a Warner Chilcott Product but failed to do
so., the representative was to pull out payment data from ll\/iS Health, lnc., which shows health
care professionals’ prescribing behavior, and say: “No, you didn’tl Look at your datal” Doing so
was commonly referred to at Warner Chilcott as the “business conversation.""

Tlre Asacol HD Examp£e

71. As an example, one Relator stated that at the direction of managers this employee
conducted a MedEd related to an ulcerative colitis drug known as Asacol HD at Ruth Chris’
Steakhouse in Troy, Michigan. ln attendance were Drs. Hans Juergen Stein, Omar Kadro, and
Harry Wasvary, as well as the entire staff of their practices The bill was $1,82(}. There was no
discussion of Asacol HD or any other Warner Chilcott Product during the event.

72. The Relator_ held another MedEd at Shiraz Restaurant in Bingham Farms,
Michigan. ln attendance were gastrointestinal doctors Michael Piper, l\/lark Devore, Bradley
Warren, Randall Jacobs, and six GI fellows There was no serious clinical discussion of Asacol
HD or any other Warner Chilcott product The Relator promoted Asacol HD to individual health
care professionals “on the side.” The bill was $1,264. Relator held these events at the repeated
instructions of his managers He believed that he would be fired if he did not do so. lndeed, the
Relators stated that numerous representatives were fired for failing to meet their quota of MedEd
events l

73. Since there was no educational purpose to these MedEds, their only purpose was to
build relationships with the attendees for sales representatives to later leverage in “business
discussions.” During a business discussion, a sales representative informs the physician or staff

member that he or she owes it to the representative and_Warner Chilcott to prescribe Warner

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Chilcott Products - or, in the case of a staff member, to process the prior authorization paperwork
to ensure reimbursement for those drugs ln many instances an explicit business discussion was
not necessary, as health care professionals and staff understood the implicit terms of the
arrangement and taken these actions on their own initiative

74. Wamer Chilcott representatives had a budget of 315,000 to $20,000 per month, or
as much as $240,000 per yearJ for l\/ledEd programs This is nearly nineteen times higher than the
industry average for such events of some $13,000 per year. Warner Chilcott"s budget has only
represented the limit on representatives’ credit cards Warner Chilcott tracked spending by brand,
but there has been no brand limit. ln theory, a representative could have spent his or her entire
$20,000 per month budget to take doctors out to dinner for a single product

75. The centrality of-MedEds to a sales representative’s job duties was emphasized by
a new field coaching report template which prominently included field ratings of sales
representatives on the following: “Develops Speakers (how many),” “# MedEds last 31 days,” “#
MedEds last 31 days with Speaker,” ‘9# l\/ledEds planned next 31 idays,” “# l\/iedEds next 31 days
w/ speaker,” and “Last MedEd attended by Dl\/l [District l\/lanager]."’

_ 76. In the case of Asacol HD, Warner Chilcott also used programs by Dr. Timothy
Nostrant, a professor of gastroenterology, pediatric gastroenterology, and internal medicine at the
University of Michigan, to promote the off-label use of Asacol HD throughout the United States.
In 2010 alone, he gave 72 promotional programs for which he was paid $3,000, plus expenses per
program, or some $216,000 in honoraria. The primary topic of Nostrant’s program, wildly popular
among gastroenterolo gist attendees, was “How to Increase Revenue and Decrease Jail Time.” The
program instructed attendees how to increase their revenue by increasing the relative value units,

or “RVUs,” in their Medicare and Medicaid billings

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77, The majority of this program9 usually some 70 to 80 minutes in length, had nothing
to with Asacol HD but rather instructed health care professionals how to increase their l\/ledicare
and l\/ledicaid reimbursements Only in the final five minutes of his presentation did Dr. Timothy
Nostrant discuss the use ofAsacol l-lD for the off-label treatment of a number .of chronic intestinal
disorders including Crohn’s disease and various other forms of inflammatory bowel disease
Asacol HD' was only indicated for the acute treatment of moderately active ulcerative colitis

78. Wamer Chilcott’s free program on l\/ledicarel reimbursement caused health care
professionals to prescribe Asacol® I-ID rather than cheaper, more clinically appropriate, and on-
label alternatives The program was a clear quidpro quo, and health care professionals found it to
be of tremendous value because it resulted in greater l\/[edicare and Medicaid reimbursements ln
the absence of Warner Chilcott’s free provision of this tutorial, health care professionals would
have been necessitated to pay for it themselves ln exchange for the Warner Chilcott’s provision
of Dr. Notsrant’s program, these doctors prescribed Asacol HD. For those doctors that did not
immediately begin prescribing Asacol HD, representatives were instructed to tell these health care
professionals that they “owed” Warner Chilcott for the program, and that as a result, they should
prescribe Asacol HD in lieu of lower priced and/or on-label alternatives

79. The conduct violated AKS and FDA regulations prohibiting promotional content
of speaker programs from espousing uses and claims not supported by the FDA-app_roved labeling
for particular drugs These fraudulent acts wrongfully induced increased prescriptions of Asacol
I-ll) to the detriment of the Plaintiffs’ Assignors and the putative class members

80. And, as reported by the FCA`Relators, if a sales representative complained, they
were fired and given a severance package to keep them quiet For example, at the end of 2010,

l\/larc_ie Cowing, a Gastrointestinal/Dermatology sales representative in Kentucky, objected to her

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manager"s instructions that she engage in illegal off“label promotion, leverage l\/ledEds as
kickbacks and falsify prior authorization requests all in order to drive sales of Asacol HDq Cowing
sent an emmail detailing her concerns to upper management, including District l\/lanager .lohn
Lutborrow and National Vice President for Gastroenterology and Dermatology l\licola Crawford.
ln response, her manager called her, and following a conversation in which he intimidated and
threatened Cowing, fired her. She was “packaged out” the following day. Cowing’s experience is
paradigmatic of the way in which Warner Chilcott repeatedly forced employees to engage in illegal
practices then intimidated and bought the silence of those who threatened to disclose the illegal
acts

Estrace Cream, Loestrin, Lo Loestrin Examples

81. As Relators stated, the MedEd philosophy was pervasive throughout all divisions
of Warner Chilcott. Relators reported on sales representative l\/lark Szachowicz, a Women’s
Healthcare Representative for the greater l\/lilwaukee area. Szachowicz would have been
responsible for Estrace Cream (vaginal creamj, Loestrin and Lo Loestrin (contraceptives),' among
other drugs As of early 2011, Szachowicz was ranked in`the top 12% of representatives on the
Women’s Healthcare sales force and was recognized in a voicemail from Regional Sales Director
Michael Koellhoffer as a “perfect example of what success can and should look like.”
Representative Szachowicz T» who averaged four l\/ledEds per week and utilized_his entire budget
on a regular basis - regularly paid for MedEds but rarely attended the events Thus, no medical
information could have been or was conveyed Prescriptions were simply bought.

82. Szachowcz’s practice of paying for but not attending his l\/led Ed programs was not
unprecedented For example, Warner Chilcott had at times maintained open credit card accounts '

at several restaurants in Long lsland, New York, for high-decile health care professionals allowing

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doctors to take their families to dinner whenever they pleased without the presence of a sales
representative

83. According to Relators this practice was common and pervasive at Warner Chilcott.
For example, on February 18, 2011, Vice President Koellhoffer forwarded a voicemail message
from Distri`ct Manager Brett Hayes who had forwarded a voicemail message from sales
representative Caroline Hammond, in which Hammond discussed the importance of leveraging
l\/ledEd events to induce office staff to submit prior authorizations for the Wamer Chilcott
Products. As Harnmond related in her voicemail message, in exchange for doing prior
authorizations she asked the medical staff: “What can l do for you? Let’s all go outv.. We have the
budget that allows us to do that...” She then said that, as a result of entertaining the staff, “l am
completely expecting those prior-authorizations to get approved.”

84. Specific to Estrace Cream, between January 1, 2011 and August 4, 2011, Warner
Chilcott paid Dr. Manish Gopal for eight speaker programs at $700 per program, or $5,6-00 in total.
While Warner Chilcott purported to make these payments to compensate Dr. Manish Gopal for his
services as a promotional speaker for Estrace, Warner Chilcott in fact made these payments as
kickbacks to induce Dr. Manish Gopal to prescribe Estrace.

85. Between January l, 2011 and August 4, 2011, Warner Chilcott paid Dr. Joseph
Berger for 24 speaker programs at $700 per program, or $16,800 in total. While Warner Chilcott
purported to make these payments to compensate Dr. Joseph Berger for his services as a
promotional speaker for Estrace, Warner Chilcott in fact made these payments as kickbacks to
induce Dr. Berger to prescribe Estrace.

86. Between January 1, 2011 and August 4, 2011, Warner Chilcott paid flr. Eric Elias

for three speaker programs at $700 per program, or $2,100 in total. While Warner Chilcott

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purported to make these payments to compensate Dr. Elias for his services as a promotional
speaker for Estrace, Warner Chilcott in fact made these payments as kickbacks to induce Dr. Elias
to prescribe Estrace.

87. lThe kickbacks paid by Warner Chilcott to induce Estrace prescriptions caused
doctors to prescribe Estrace to l\/ledicare beneficiaries rather than cheaper altematives which

l caused injurious overpayments by Plaintiffs’ Assignors and the putative class members

88. Loestrin 24 lie is an oral contraceptive, introduced in 2006 by Warner Chilcott as
a replacement for Loestrin Fe 1/20, which was first introduced in 1973. The majority of oral
contraceptive products currently used in the United States are based on a regimen of 21 days of
active hormonal pills followed by 7 days of placebo. in contrast, Loestrin 24 Fe therapy entails
active treatment for 24 days followed by 4 days of placebo. l

89. The marketfor oral contraceptives is extremely competitiveB and as such, most of
the major branded drug manufacturers do not participate, preferring instead to focus on areas with
higher margins Warner Chilcott used l\/IedEd events to induce prescriptions of Loestrin 24 Fe and
Lo Loestrin.

90. In keeping with its Company-wide promotional strategy, l\/ledEds- and other
kickbacks were at the heart of Warner Chilcott’s promotion of Loestrin 24 and Lo Loestrin,
through which it not only sought to induce health care professionals to prescribe but also induced
medical staffs to switch patients to these drugs Sales representatives were trained to “stay close”
to triage nurses who frequently make oral contraceptive prescribing decisions Doing so meant
regular MedEd “happy hours” with office staff. l

91. Warner Chilcott trained its sales representatives to engage in the “business

discussion” with doctors who attend MedEd events but do not prescribe Loestrin 24 Fe or Lo

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Loestrin. Managers instructed sales representatives to get “aggressive” with doctors such as by
asking9 “Doctor, do you hate my guts? Doctor, do you know how much Loestrin 24 you have
written over the past three months?”

92. As an example, between~lanuary 1, 2011 and A.ugust 4, 2011, Warncr Chilcott paid
Dr. Darryl Boffard for 14 speaker programs at 3700 per program, or $9,800 in total. While Warner
Chilcott purported to make these payments to compensate Dr. Boffard for his services as a
promotional speaker for Loestrin 24 Fe and Lo Loestrin, Warner Chilcott in fact made these
payments as kickbacks to induce Dr. Boffard to prescribe Loestrin 24 Fe and Lo Loestrin.

93. j As another of many, many examples set forth by the FCA Relators between
lanuary 15 2011 and August 4, 2011, Warner Chilcott paid Dr. Jacquelyn Cortez for 30 speaker
programs at $700 per program, or $21,000 in total. While Warner Chilcott purported to make these
payments to compensate Dr. Cortez for her services as a promotional speaker for Loestrin 24 Fe
and Lo Loestrin, Warner Chilcott in fact made these payments as kickbacks to induce Dr._Cortez
to prescribe Lo Loestrin l

94. The preceding examples are representative, but not exhaustive, of the thousands of
instances in which Wamer Chilcott has paid speaker fees to health care professionals as kickbacks
to prescribe Loestrin 24 Fe and Lo Loestrin. As a result of kickbacks paid by Warner Chilcott,
doctors were fraudulently induced to prescribe Loestrin and Lo Loestrin to Medicare beneficiaries
instead of less expensive alternatives which caused injurious overpayments by Plaintif_fs’
Assignors and the putative class members

Atelvi`a and Actori;el Examples

95. Actonel and Atelvia are osteoporosis drugs and Warner Chilcott relied on its tried

and true approach to pump up sales of the drugs especially since Actonel was an older drug and

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Atelvia was a newer9 supposedly better versionn in 2011, Actonel had been the best-=selling
branded oral bisphosphonate in the United States with then annual sales of $771 million.

96, Although Actonel was the market leader in 2011,, that position was due to the patent
expiration of l\/lerck’s Fosamax, which`far outsold Actonel during Fosamax’s branded lifev ln `
2007, U.S, sales of Fosarnax were $1.4 billion, compared to $791 million for Actonel. The entry
of generic Fosamax in early 2008 began to substantially erode sales of Actonel, which dropped
40% the following year.

97. To stem this revenue decline and protect against fallout from a successful challenge
to Actonel’s patent, Warner Chilcott sought to transition the Actonel market to its follow~on
j product Atelvia, which was approved in October of 2010 and entered the market in early 2011.7
However,' it continued to find ways to fraudulently promote Actonel sales

98. The centerpiece of Wamer Chilcott’ s promotion of Actonel and Atelvia was the use
of speaker fees as kickbacks to health care professionals to prescribe both drugs Wamer Chilcott
7 leveraged these kickbacks exclusively with regard to Actonel until the end of 2010, when it shifted
the focus of its scheme to Atelvia preceding its launch in January 2011. Warner Chilcott tracked
the quantity of Actonel and Atelvia that speakers prescribed, explicitly requesting that speakers
whose prescribing rate it considered insufficient to prescribe more, and firing those who did not.

99. When the FCA Relators began at Warner Chilcott, MedEds with speakers were
much less frequent than those without speakers However, when Atelvia launched in l anuary 201 1,
speaker fees became the key kickback that Warner Chilcott used to induce health care professionals
\' to prescribe the drug'. in mid-2011, the majority of Atelvia prescriptions were written by paid
- speakers Realizing that speaker fees were even more effective inducements than it had previously

_ thought, Warner Chilcott not only increased its number of speakers for Atelvia but expanded the

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tactic to its other drugs as well

100. -Steve Justice, an Atelvia representative in Stn Louis l\/lissouri, who led his district
in spending on l\/ledEds and speaker programs was held up as an example by District l\/lanager
Brett l-layes and VP K.oellhoffer for having taken health care professionals pheasant hunting Dl\/l
llayes requested that lustice do a write~up emmail about the hunt and how it allowed him to sell to
two key doctors That e-m_ail was then forwarded throughout Warner Chilcott as a best practice
ln addition, VP Koellhoffer left a voicemail for his entire region praising lustice’s tactics

101. As one of the many examples Dr. Eleonora Fedonenko served as a regular paid
speaker in Los Angeles California. Although Dr. Fedonenko had already prescribed a significant
quantity of Actonel before she started serving as a speaker, she also had prescribed competing
bisphosphonates,. and Warner Chilcott sought to increase her Actonel prescribing even further. The
speaking fees provided to Dr. Fedonenko served as both rewards for the Actonel that she was
already prescribing as well as inducements to prescribe additional Actonel, which she did as a
result of Warn_er Chilcott’s payment of speaker fees Between lurie and Dec-ember 2010, Dr.
Fedonenko conducted 21 speaker programs for which Warner Chilcott paid her 312,600. Warner
Chilcott made these payments to induce Dr. Fedonenko to prescribe Actonel.

102. Prior to Atelvia’s official launch in January 2011, Warner Chilcott promoted the
drug through an “Early Experience Program,” through which it sought to sign up advocates - i`. e.,
paid speakers - for Atelvia. The true focus of the program was to leverage speaker fees as
kickbacks to induce these health care professionals to prescribe Atelvia, and in keeping with that
aim, Early Experience participants were selected based on their potential to prescribe a high
volume of Atelvia.

103. Seekin_g to induce as many health care professionals as possible, Warner. Chilcott

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signed up speakers at a rate that greatly exceeded its legitimate educational and promotional needs
Two months following the launch of Atelviaa as of l\/larch 1, 2011, there were ah‘eady some 708
Atelvia speakers Nonetheless shortly thereafter Warner Chilcott’s Reichel instructed sales
representatives to increase their number of Atelvia speakers ever further to nine speakers per
territory, or some 35330 nationwide As an example of the inordinate number of health care
professionals Wamer_ Chilcott enlisted as speakers a sales representative in New `York City
enlisted some 248 speakers out of his total call panel of 270 health care professionals That is 92%
of the representative’s assigned doctors were speakers The strategy was greatly successful, and
for months following Atelvia’s launch, the majority of Atelvia prescriptions were written by paid
speakers

1104._ Sales representatives were given even more blatant instructions to leverage speaker
fees as kickbacks during a l\/lay 2011 Plan of Action (“POA”) meeting held in Chicago. While
Warner Chilcott’s promotion of other drugs had largely relied on MedEds without speakers
Koellhoffer repeatedly emphasized the importance of conducting Atelvia program with speakers

1051 During his presentation on the morning of May 17, 2011, Koellhoffer told the
gathered representatives that their colleagues on the East and West Coasts had been particularly
successful using speaker events to generate prescriptions for Atelvia, taking speakers out two to
three times per month. Taking speakers out routinely like this he continued, changes a physician’s
relationship with the representative: health care professionals are human, and as such, they will
write more Atelvia in response How often a representative should take out a speaker, Koellhoffer
said, depends on what’sright for that representative’s particular business The relevant question,
he said, is are you getting fair money for the value you’re investing‘?

106. Koellhoffer repeatedly emphasized that the purpose of MedEds was to generate a

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return on investment and that sales representatives needed to hold health care professionals
accountable for writing prescriptions in exchange for being able to attend the events Koellhoffer
told sales representatives that while many l\/ledEd events had been conducted, representatives now
needed to think how to make their health care professionals work harder for them
107. Despite the egregiousness of the promotional violations described above, District
Manager Johnson told a FCA Relator that the POA meeting as it was originally planned by
Koellhoffer included even more blatant instructions to representatives to engage in violative
promotions Only following dissent by Dl\/l Johnson and other district managers did Koellhoffer
. agree to reduce the extent of his violative instructions to sales representatives
` 108. _ On July 8, 2011, one of the FCA Relators had a one-on-one telephone call with her
new district manager, Craig Ott, who described the importance of not only speaker fees but
speaker training fees to induce health care professionals to prescribe Atelvia. “When a physician
goes through speaker training,” Ott instructed the Relator, “you should be there with that physician
in order to follow up and ask: ok, doc, now how can you incorporate Atelvia into your practice?”
109. On July 8, 2011, District l\/lanager Ott also hosted a district teleconference during
which he expressed his disapproval that only six paid speakers were signed up for the entire
district, and worse, that they had written in aggregate one prescription of Atelvia. This Ott said,
_was entirely unacceptable Representatives needed to hold speakers accountable to ensure that they
were writing an_adequate number of prescriptions for Atelvia, he said At no point did Ott reference
- using speakers to convey information about Atelvia. Rather, the entire discussion concerned his
expectation that health care professionals prescribe Atelvia in exchange for maintaining their roles
as paid speakers

1 10. As further examples of the use of the paid speaker scheme, between January 1, 2011

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and August 4, 2011, `Warner Chilcott paid Dr. l\/iichael idekaj for ten speaker programs at $600
per program-, or $6,000 in total. While Warner Chilcott purported to make these payments to
compensate Dr. Lewko for his services as a promotional speaker for Atelvia, Warner Chilcott in
fact made these payments as kickbacks to induce Dr. Lewko to prescribe Atelvia,

lll. And as another example of many set forth by the FCA Reiators, between January
1, 2011 and August 4, 2011j Warner Chilcott paid Dr. Robert Fogari for ten speaker programs at
$600 per program, or $6,000 in total. While Warner Chilcott purported to make these payments to
compensate Dr. Fogari for his services as a promotional speaker for Atelvia, Warner Chilcottin
fact made these payments as kickbacks to induce Dr. Fogari to prescribe Atelvia.

112. Although Atelvia was the focus of Warner Chilcott’s kickback scheme following
January 2011, Warner Chilcott also leveraged kickbacks to induce health care professionals to
prescribe Actonel when formulary restrictions precluded those health care professionals from
prescribing /fitelvia. Sales representatives demanded that speakers and other recipients of Warner
Chilcott’s kickbacks prescribe Atelvia, but accepted prescriptions of Actonel in exchange for those
kickbacks when achieving insurance approval for Atelvia was unfeasible ln such cases, Warner
Chilcott’s kickbacks induced health care professionals to prescribe Actonei instead of cheaper
competitors such as generic Fosamax. As such, most of the health care professionals subject to
Warner Chilcott’s kickback scheme prescribed a mixture of Atelvia and Actonel.

113. Warner Chilcott knew and intended that its payment of kickbacks to health care
professionals, though primarily directed at Atelvia, caused those health care professionals to

prescribe Actonel, over generic Fosamax, which was less expensive

114. lAs a result of kickbacks paid by Warner Chilcott, Dr. Malayan prescribed Atelvia

and Actonel to Medicare beneficiaries - who could have been prescribed the cheaper generic,

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Fosamax - which caused injurious overpayments by Plaintiffs’ Assignors and the putative class
members n

Doryx Exrrmpfe

115. Warner Chilcott has promoted Doryx through an illegal scheme of kickbacks,
falsified prior authorization requests, cost-sharing waivers, and off~iabel and misleading
promotional claims Doryx is a delayed-release formulation of doxycycline hyclate and only
minimally differentiated from its competitorsj which have included generic versions of Doryx 75
and 100 mg since early 2011, and Doryx 150 mg since l\/larch 2012. Hence, Warner Chilcott’s
illegal promotional practices have been particularly necessary to drive Doryx’s market share and
were largely responsible for increasing 20il sales of the drug to $173 imillion.

116. As a tetracycline-class antibiotic which prevents the growth and spread of bacteria,
Doryx treats bacterial infections, including pneumonia and other respiratory tract infections', Lyme
disease; acne; infections of skin, genital, and urinary systems; and anthrax poisoning (after
inhalational exposure). lt is also used to prevent malaria.

1 17. Doryx is approved by the FDA for a number of useis; however, Warner Chilcott has
promoted it almost exclusively for the treatment of acne. Doryx is FDA approved for adjunctive

l treatment of severe acne.

118. Doryx has faced heavy competition on multiple fronts, including from generically
available immediate~release formulations of doxycycline and minocycline, as well as from
branded, delayed-release formulations such as Solodyn (minocycline) and Adoxa (doxycy,cline).
Kickbacks in the form of MedEds and speaker fees have been Warner Chilcott’s primary means
of inducing health care professionals to prescribe Doryx.

119. Warner Chilcott’s promotional strategy for Doryx was so heavily reliant on

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kickbacks, to the exclusion of clinical or scientific promotional claims, that sales representatives
did not learn any medical information related to Doryx. instead, managers instructed them to take
dermatologists out to dinner and to add them, without limit, as paid speakers

120 For health care professionals who have attended these l\/iedEds and were the
beneficiaries of Warner Chilcott’s largesse, sales representatives were instructed to follow up with
“business conversations,°’ during which sales representatives have held doctors accountable for
prescribing a sufficient quantity of Doryx 150 mg.

121. At the insistence of his managers, one of the FCA Relators held numerous l\/ledEd _l
events, one of which was held on September 23, 2010, at Tallulah Wine Bar, in Birmingham,
Miehigan. Four dermatological fellows attended By Relator’s account, only a few minutes were
spent discussing Doryx, and the event was “mostly a party.” By avoiding clinical discussion, the
FCA Relator was not deviating from the instructions of his managers; rather, he was explicitly
following them. The bill was $331.

122. On Februaryl'i', 2011, Warner Chilcott held regional conference calls concerning
the promotion of Doryx 150 mg. The key topics discussed were: (a) the expectation that sales
representatives complete prior authorizations for health care professionals, and (b) the need to get
dermatologists and their staffs out to do MedEd events

123. The preceding examples are representative but not exhaustive, of the thousands of
instances in which Warner Chilcott paid speaker fees to health care professionals as kickbacks to
prescribe Doryx, and thereby caused fraudulent overpayments by Plaintiffs Assignors and the
putative class members

Enableic Example

124. Enablex (darifenacin extended~release tablets) was approved by the FDA on

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Decernber 22, 2004, for treatment of overactive bladder with symptoms of urge urinary
incontinence, urgency, and frequency Urge urinary incontinence is characterized by a pressing
impulse to void, followed by the involuntary leakage of urine as a result of the inability to control
bladder funetion. Darifenacin is an antimuscarinic»class drug, which works by relaxing the
muscles of the bladder.

125. The patent for Enablex was originally scheduled to expire in March 2010; however,
it was extended until l\/larch 2015 to compensate for time lost during drug development The
formulation patent protecting Enablex did not expire until August 2016.

126. l\/iedicare Part D and Medicaid are both significant purchasers of Enablex.

127. To induce health care professionals to prescribe Enablex, Warner Chilcott
leveraged the various forms of kickbacks described above, including speaking fees and attendance
at MedEd events

128. For instance, according to the FCA Relators between January l 2011 and August
4, 201 l, Warner Chilcott paid Dr. Steven Maislos for seven speaker programs at $700 per program,
or $4,900 in total. While Warner Chilcott purported to-make these payments to compensate Dr.
Maislos for his services as a promotional speaker for Enablex Warner Chilcott in fact made these
payments as-kickbacks to induce Dr. Maislos to prescribe Enablex. As a result of kickbacks paid
by Warner Chilcott, Dr. Maislos prescribed Enablex to Medicare beneficiaries which caused
overpayments by l\/ledicare and MA.Os

129. Similarly, between January l 2011 and August 4, 2011 Warner Chilcott paid Dr.
Eric Elias for three speaker programs a_t $700 per program, or $2,100 in total. While Warner
Chilcott purported to make these payments to compensate Dr. Elias for his services as a

promotional speaker for Enablex, Warner Chilcott in fact made these payments as kickbacks to

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induce Dr. Elias to prescribe Enablex. As a result of kickbacks paid by Warner Chilcottj Dr. Elias
prescribed Enablex to l\/iedicare beneficiaries which caused overpayments by Medicare and
MAOs. n

130. The preceding examples are representative but not exhaustive of the thousands of
instances in which Warner Chilcott has paid speaker'fees to health care professionals as kickbacks
to prescribe Enablex instead of less-expensive alternative and thereby caused fraudulent
overpayments by Plaintiffs’ Assignors and the putative class members

Scherne 2 -- Manipnlation of Prior Authoriaations for Atelvia and Actonei

131. Like most commercial plans, Medicare and `l\/ledicaid prescription drug plans
(“PDPS”)_have preferred drug lists known as “‘formularies,” which designate drugs covered by
PDPs. Formularies are critical mechanisms of controlling prescription drug program costs because
they incentivize patients to make efficient and economical choices when medically suitable
alternatives exist. if a drug is on a formulary, it will be covered when prescribed (potentially n
subject to restrictions to ensure that it is being properly prescribed). A formulary generally
includes at least one drug in each therapeutic category

132. ln most instances, drugs that are not on the plan’s formulary are not covered by the
plan, and patients must pay the full cost themselves However, PDPs will make an exception-and
cover a non-forrnulary drug if the drug is medically necessary for a patient, 1'. e. , if there is a reason
why the on-forrnulary medication is not an acceptable alternative 42 C.F.R. § 423.578. Common
reasons include _contraindications of the formulary medication to other medications that the patient
lis already taking, or prior adverse experience of the patient to the formulary-listed medication In
such cases, the prescribing physician requests a “prior authorization” (also known as an “exception

request” or “coverage determination request”) for the patient to receive coverage for the non-

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formulary drug A legitimate clinical reason must exist to grant the prior authorization request.

133,

Faced with unfavorable formulary status and payor resistance to reimbursing for

many of its drugs particularly Atelvia, Warner Chilcott falsified prior authorization requests to

obtain reimbursementq ln some instances Warner Chilcott induced office staff to submit false

requests for its drugs in other instances its sales representatives reviewed patient files and filled

out prior authorization requests in both scenarios Warner Chilcott fabricated the reasons on the

requests why patients required its drugs

134. As the U.S. Attorney explained to the Court at`the April 2016 sentencing hearing:

What happens your Honor, is that by the end of 2010 and into 2011, these
osteoporosis drugs had poor insurance coverage insurance companies were by and
large not paying for these drugs without a prior authorization from a physician
They weren't paying for the drugs because there was a generic equivalent, Fosamax,
that essentially did the same thing for a whole lot cheaper.

Warner Chilcott was aware of this dynamic and aware that prior authorizations
were required to push through these drugs so Warner Chilcott executives taught
the sales force all about prior authorizations and instructed them that they had to
push through prior authorizations in order to get prescriptions

Howe

ver, in a busy doctor's office, many of these doctors did not want to spend the

time doing prior authorizations so Warner Chilcott took it upon itself to manipulate
the prior authorizations provide the medical reasons for prior authorizations which
were canned and largely untethered to the patients and in many instances the sales
representatives simply filled out the prior authorizations themselves writing in
medical justifications that they had no idea.were true or not for a particular patient,
sending them into insurance companies

So it was simple insurance fraud. lnsurance companies paid for Atelvia and to a
lesser extent Actonel under false pretenses

Transcript at 14:1- 1511.

135.

The FCA Relators explained that while Wamer Chilcott’ s official training materials

instructed sales representatives not to mention the existence of the prior authorization process and

not to participate in the completion of prior authorizations in practice sales representatives did

both. indeed, management instructed sales representatives to actively manipulate the prior

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authorization process to increase sales of Warner Chilcottis drugs At the instruction of their
managers sales representatives (1) induced physicians and staff to complete prior authorization
requests (2) coached physicians and staff on language, often false, to include in prior authorization
requests and (3) themselves completed and submitted prior authorization requests including by
reviewing patient files

136. These practices were pervasive nationwide, and successful in driving sales of
Warner Chilcott’s osteoporosis drugs in Texas for example, the FCA Relators reported that sales
representative Holly Trevino-Blakely went from office to office filling out prior authorization
fomis for Atelvia. The practice was approved by her managers including District Manager Gilbert
Gonzalez, and during January 2011, it made her the fourth-ranked Atelvia representative in the
country. Similarly, in the Long lsland District of the East Region, Joel Romero has been one of
the top twenty sales representatives for Atelvia because he completed prior authorizations for his
offices lndeed, Romero set up a fax machine in his house so that doctors’ offices could simply fax
patients’ information to his wife, `who filled out the prior authorization requests and then faxed
them to the insurance companies or benefit providers For both March and April 2011, sales
representative Aleksandr Eygurin was the top-ranked Atelvia representative in the nation largely
as a result of his completion of prior authorization requests at offices across his territory. Eygurin
` did so at whatever time of day those offices would provide him access including in the early hours
of the morning n

137. The nationwide scope of these practices has been the product of express instructions
from senior managers who routinely forwarded voicemails across the country discussing sales
representatives “success stories” using these methods in a voicemail forwarded by RSD Mike

1 Koellhoffer on February 1, 2011, President Reichel himself advocated using MedEds as

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inducements to staff to “force through” prior authorization requests Reichel instructed:

And if its an objection like something about prior auths what l can tell you is the

reps who are getting it done have tremendous relationships with the medical

assistants and they force through the prior auth. ln other words they work with the

staff and explain to them what needs to be accomplished, etc. One of the things l’ve

heard which is a good idea is having medical assistants for a MedEd program They

can hear about the product and why it is so important to do the prior auth, and if

you have somebody who is a medical assistant that understands the mechanics of

how to work these prior auths 1 think that also can be beneficial for that person to

you know come out to dinner.

138. Reichel continued, “So l think this has to become, you know, a core competency of
Warner Chilcott is how to work with the prior auth.” The next day, on February 2, 2011, RSD
Koellhoffer forwarded another voicemail, which he described as “some learnings about prior
authorizations and how to pull them through the offices.” ln the forwarded message, sales
representative Caro_lyn Hammond advocated “having some direct wording to give [office staff]
that in this particular class [bisphosphonates] gets the prior auths approved That was fabulous
information.” She then blatantly discussed using MedEds to bribe office staff to complete the prior
authorization requests:

139. ln a voicemail message dated February 5, 2011, forwarded by Regional Sales
Director Koellhoffer, District l\/lanager Brandon King emphasized the importance of falsifying
prior authorization requests to increasing sales:

We are selling the whole office because it’s hyper and critical to our business and

as you heard in Carl [Reichel]’s message, doing these prior auths and being experts

at getting this done, it’s going to be a core competency for Warner Chilcott going

forward.

1140. Warner Chilcott specifically targeted its scheme to falsify prior authorization
requests at government programs including l\/ledicare Part D. ln a voicemail message dated

January 3 l, 2011, again forwarded by Regional Sales Director Koellhoffer, sales representative

Newt Landry described his success in instructing office staff on language to include on prior

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authorization forms for l\/iedicare Part D beneficiaries

And, actually, l got to spend quite a bit of time talking to him about prior

authorizations and how we’re able to get the process and get them through, and l

gave him copies of the l\/led D form and told him what to write on there ..

141w Beginning in mid-201 1`, Warner Chilcott began to specifically target LlS-.and dual-
eligible patients for its prior authorization request falsification scheme LlS»~eligible patients are
l\/ledicare beneficiaries whose income level qualifies them to receive Medicare Part D copayment
and co-insurance assistance from the U.S, Social Security Administration. Dual-eligible patients
are l\/ledicare beneficiaries who are also eligible for l\/ledicaid, and as a result receive assistance
meeting copayment and coinsurance obligations as well as additional services not covered by
l\/ledicare.

' 142. Sales representatives were regularly evaluated on their success at inducing staff to
aid in submission of false prior authorization requests At Warner Chilcott, doing so was a key part
of the “total- office call” H i.e., a sales call that goes beyond speaking only to health care
professionals but also involves office staff The “Sales Representative Performance Evaluation &
Coaching Report” template for third trimester 2011 included the category “Builds Staff Allies and
executes Total Office Calls with excellence.” l

143. The FCA Relators were shown a.list of fellow sales representatives who were
rewarded and promoted for participating in the false prior authorization scheme For example, at
approximately the same time he was promoted, Prabhakar (“Mo”) Polani was praised in a
voicemail distributed to the national sales force for reviewing patients’ files and filling out prior
authorization forms for Atelvia. Similarly, Eduardo Chang was promoted after one of the Relator’ s
district manager held him up as an example for filling out prior authorization paperwork. ln

addition, at least two others on the list, Jessi James and Stefan l\/iancuso, were leading participants

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in Warner Chilcott’s scheme of falsifying prior authorizations These sales representatives
received a pay raise and became responsible for the training of newly hired sales representatives

144. One other tool that Wamer Chilcott appropriated to facilitate sales representatives9
submission of fraudulent prior authorization requests was www.covermymeds.com, a web-based
software to expedite health care professionals5 and pharmacists’ submission of prior authorization
requests by gathering together the forms and requirements of various insurance carriers On luly
23, 2012, the websiteis owner, Coverl\/lyl\/leds LLC, sued Wamer Chilcott for illegally using its
software to submit some 16,000 fraudulent prior authorization forms See CoverMyMeds LLC v.
Wamer Chilcott (US), LLC, Civ. No. 2:12-cv- 00665-GLF-TPK (S.DW Ohio). CoverMyl\/leds
alleged that over two hundred Wamer Chilcott sales representatives had, posing as health care
professionals registered for and “wrongf`ully used CoverMyMeds to submit [prior authorization]
requests.” Among the Warner Chilcott sales representatives who registered and submitted
fraudulent requests were: Kathryn Denisse Woods (Kentucky), Todd Burkhalter (North Carolina),
Ashley Humbaugh (Florida), l\/Iichael Taynor_ (New Jersey), Adam Apprill (California), Brooke
Dobbins, Brooke Nelson (Oklahoma), J ames Montemarano (New `York), Robert Higgins (Florida),
and Erica Handalian (California). The Coverl\/lyl\/ieds lawsuit was dismissed as part of a
confidential settlement between the parties on January 3, 2013.

Further Atec'via qudufem PriorA`uthorization Facts n

145. _ As stated by the FCA Relators, when Atelvia entered the market in January 2011,
it was only minimally differentiated from and far more expensive than competing oral
bisphosphonates some of which were available generically Warner Chilcott also lacked contracts
with most managed care plans which would have allowed the plans to purchase Atelvia_at a

favorable rate, and thus Atelvia'lacked status on those plans’ formularies. The result Was that, even

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if Warner Chilcott succeeded in inducing health care professionals to prescribe At_elvia using the
litany of kickbacks described above, insurance companies would not pay for the drug Rather than
forcing their patients to unnecessarily pay hundreds of dollars out of pocket, health care
professionals then switched patients to a competitor that did have coverage,

146. Warner Chilcott”s solution to overcome insurers’ restrictions Was to pay kickbacks
to office staff to submit prior authorization requests, using MedEds as inducements to staff to do
the time-consuming work of submitting the requests By doing so Warner Chilcott sought to evade
formulary incentives that direct patients to more economical medications and lower l\/ledicare
costs.

14’7. However, even with both health care professionals and staff Successfully bribed and
willing to prescribe Atelvia and submit formulary exception requests, they still lacked valid
reasons to use to convince payers to approve them. Prior authorization requests offer a mechanism
of obtaining medically necessary therapies when no formulary alternative exists, but the reality
was of course that less-expensive formulary alternatives including alendronate, ibandronate, and
even Actonel did`exist.

148. Warner Chilcott itself made, and paid office staff to make, false statements on prior
authorization requests attesting to the unsuitability of other oral bisphosphonates as well as the
unique suitability and medical necessity of Atelvia. Relying on these false statements, MAOS and
their drug plan administrators approved the prior authorization requests and made reimbursements
for the accompanying prescriptions of Atelvia as a result. These false statements were material to
the MAOs’ decisions to make those reimbursements

149. One of the pioneers land most egregious examples of the Warner Chilcott’s

falsification of prior authorization requests was Sales Representative and later Field Manager

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Polani. On January 13, 201 1, Polani sent a voicemail to his district in which he explicitly described
his involvement submitting false prior authorization forms and also violating patient HIPAA
protections in the process:

l have been doing lots of prior authorizations l should say and 1 go down there by

5, 5;30, sit down with the different clinics and i help those girls to do a prior

authorization, basically and, what l do is like, l see why it’s not covered and what

the patient was earlier taking B_ased on that we request, basically most of them

went th.rough, when I said compliance and upper Gl issues But other than that, we

always put, l always put, ‘there it is a complication of having a secondary fracture’

so, that, l think that’s the wordings which basically makes me a win-win here and

out of almost like 24 prior authorizations 2_5 prior authorizations I have done in

these two days, almost like 18, 19 have gone through.
This voicemail was subsequently forwarded across the country through Regional Sales Directors
Sirine Tabbara and l\/[ike Koellhoffer as a “'success story” to be emulated by other sales
representatives Polani’s district manager, Tim Garcia commented: “[T]here’s many different
things you can put on the prior authorizations to get them approved, such as compliance, GI
tolerability and Gl tolerability [repetition in original] so, great job l\/io.” RSD Sirine Tabbara, also
complementary, added that sales representatives and office staff should handle the fabrication of
reasons for Atelvia’s medical necessity: “Doctors should not get involved in this They should
know nothing about the process or what they need to do.” RSD Koellhoffer stated:

There is really nothing that stops any rep from doing what he is doing, except their

own personal passion to win. So this is a case of a guy who is completely focused

on driving his business to the top and willing to do what it takes to make that

happen. '
As Polani himself had done, Koellhoffer attested to the success of the fraudulent submissions at
obtaining reimbursements for Atelvia: “He’s talking here about his ability to get 18 out of 25 prior
authorizations approved in 24 hours . ..” As a result, Polani was the second-ranked Atelvia sales

representative in the country.

_ 150. At the beginning-of February 2011 senior managers including RSD Koellhoffer

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sent a series of voicemails across the country touting sales representatives’ participation in
falsification of prior authorization requests as best practices President Reichel himself advocated
that such participation should be a “core competency” of Warner Chilcott sales representatives

151 On February 14, 2011, District Manager Craig Ott sent an email to sales
representatives in his district listing “some verbiage that can be used on [prior authorization]
forms.” Clearly indicating that sales representatives were expected to instruct office staff to use
Ott’s language on prior authorization requests Ott further labeled his list, “Examples of rationale
for exception for office staff to include on Coverage Deterrnination Form.”

152. Regional Sales Director Koellhoffer described managed care as a barrier to Atelvia
sales and requested to know how many sales representatives by a show of hands had used the
Medicare Part D prior authorization form in the field to overcome this barrier. All the hands in the
room went up. Gary Rojewski instructed the representatives that if they were not using the
Medicare Part D prior authorization form, they should be. Mark Ritter told the sales representatives
that if they needed prior authorization forms for other payors, they should speak to their district
managers who would obtain the forms for them.

153. In sum, Warner Chilcott’s prior authorization manipulation scheme caused more
Atelvia and Actonel prescriptions to be written when the drugs were not routinely included on
PDP’s formularies (and where a much cheaper alternative was on the formulary), causing injurious
overpayments by Plaintiffs’ Assignors and the putative class members

Scheme 3 - Unlawful Promotion of Actonel as “’Clinically Superior” to Generics

154. Warner Chilcott discouraged a “scientific sell” of its drugs to health care

professionals instead, the FCA Relators described how Warner Chilcott CEO Boissonneault

instructed managers during a meeting in Puerto Rico in Novernber 2010 that sales representatives

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should “’keep it simple” and “sell on relationships” to health care professionals and their staffs
Thus, rather than promoting its drugs based on clinical merit, `Warner Chilcott relied on a
combination of inducements and misleading promotional claims

155. l\/lost pharmaceutical companies employ Medical Science Liaisons (“MSLS”) or an
equivalent position to convey detailed medical~scientific information to inquiring health care
professionals l\/lost have an advanced scientific degree such as an MD, PhD, or PharmD, allowing
them to engage in sophisticated discussions with health care professionals regarding their
employers" drug products Frequently this means responding to health care professionals requests
for more information about a product, such as a drug’s effectiveness for an off»label indication

156. As of December 2011, Warner Chilcott employed no MSLS, having fired the
MSL’s it had inherited through one of its corporate acquisitions

157. Warner Chilcott instead relied on its sales representatives to convey any scientific
information a physician might request This is particularly surprising given that managers
expressly discouraged sales representatives from discussing detailed scientific information, and
that representatives possessed no advanced medical or scientific training and frequently lacked
even a basic scientific understanding of their products

158. As replacements for qualified MSLS, sales representatives were trained to make
unsubstantiated product claims exaggerating the efficacy and superiority of WarnerChilcott
Products including Actonel.

159. As the U.S. Attorney in Boston explained at Warner Chilcott’s sentencing hearing:

...`towards the end of 2010, [for] Actonel, which was also an osteoporosis drug,

[the] predecessor drug to Atelvia, the directors and executives for the company

came up with a new marketing message for Actonel, and the new marketing

message was that the sales force should promote Actonel as clinically superior to

other bisphosphonates, and the reason for that was its supposed mechanism of
action, the way the drug interacts with the body. There was a retrospective study

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that hypothesized that the mechanism of action for Actonel may be superior to other

drugs and might explain why it works well, but there was no head-to»head study9

there was no clinical proof that this was the case

Nevertheless the sales force was instructed to go out to doctors and tell them that

Actonel was superior to other bisphosphonates based on its mechanism of action.

lt included a visual depiction involving pouring syrup over a sponge that had not

been approved by the FDA. There was no evidence ever presented to the FDA or

anyone else that this mechanism of action message was in factg true9 and so that's

the third bucket, an unlawful promotion aspect of the healthcare fraud scheme . . .

_Transcript at 15:3 - 24

160. As set forth by the FCA Relators in order to ensure that sales representatives
promotions comply with FDA regulations most pharmaceutical manufacturers have strict rules
that limit which clinical studies sales representatives are allowed to promote and distribute
Generally, these companies only approve sales representatives use of rigorous and well-designed
studies which are then specially prepared for distribution to health care professionals by including
a warning about any content that falls outside the drug’s label, and by enclosing a copy of the
prescribing information FDA regulations allow sales representatives to promote studies pertaining
to on-label uses; they are only allowed to distribute, not discuss those pertaining to off~label uses

` 161. In contrast, Warner Chilcott had no such approval process either for on- or off-

label studies and had not provided reprints for representatives to use in detailing Instead, Warner
Chilcott encouraged representatives to simply go on the .internet, download, and print studies to
share with health care professionals District managers did the same, locating studies on the
internet and then sending them via email to their sales representatives Frequently, at POA
meetings representatives and their managers role played using these studies in mock off-label
promotional details This practice was a key part of `Warner Chilcott’s promotion of Actonel.

Senior managers were not only aware of the use of such studies for the off-label and misleading

' promotion of Warner Chilcott’s drugs they actively supported and encouraged it.

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162. 211 CFR 314.81(b)(3) requires pharmaceutical manufacturers to submit all
promotional materials for a drug to the Office of Prescription Drug Promotion (“OPDP”), formerly
the Division of Drug l\/larketing, Advertising and Comrnunications (“DDMAC”), at the time of
the materials’ initial publication or dissemination OPDP reviews the materials to ensure
compliance with FDA regulations including that they are truthful, balanced, and non-misleading

163. Warner Chilcott violated this requirement by not submitting its marketing pieces to
_ OPDP or, previously, DDl\/IAC. lndeed, President Reichel told employees that until Warner
Chilcott received an OPDP Warning Letter, it would continue its illegal promotional practices

Frrrther Specz:fi'c Examples ofFalse Act¢mer' Superiorizj) Claims

164-. As the FCA Relators stated, the greatest competitors to Actonel were its fellow oral
bisphosphonates foremost among which were generic Fosamax (alendronate) and Boniva
(ibandronate). In order _to maintain and gain market share, Warner Chilcott trained sales
representatives to make `a series of unsubstantiated superiority claims While the claims were
n varied 1n form they were misleading without exception Warner Chilcott’ s misleading superiority
claims caused health care professionals to prescribe and MAOs to reimburse for Actonel when
cheaper competitors such as generic Fosamax were just as medically appropriate

165. As one example, in early 2010, warnings increased that long-term use of oral
bisphosphonates including Actonel, had been associated with atypical femoral fractures Rather
than acknowledging this safety risk, Warner Chilcott sought to “spin” it against competitors by
claiming that Actonel posed less risk than other oral bisphosphonates There was no reliable
scientific basis for that claim.

166. Although for years health care professionals had engaged in widespread prescribing

of bisphosphonates for the long~term prevention and treatment of osteoporo sis beginning in 2005,

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a growing number of reports emerged that some women taking bisphosphonates for many years
suffered an unusual fracture of the femur. The reports indicated these cases involved little or no
trauma; in most cases the women were simply standing or walking when the femur snapped. ln
some women, breaks occurred in both thighs. Many of the fractures were unusually slow to heal.
Since that time, a number of experts have questioned the benefits of long-term use and the potential
merits of “drug holidays” See, e.g., lane E. Broday, Revisiring Bone Drugs and Femur Fractures
N.Y, Times, Mar. 6, 2011, http://www.nytimes.com/Z(}l 1/03/08/hea1th/0Sbrody-bone.html (last visited
l\/iarch 23, 2018). '

167. Warner Chilcott claimed that Actonel and Atelvia posed less risk than other oral
bisphosphonates To do so, sales representatives compared bone suppression data from the
Prescribing lnformation for Actonel and Fosamax and claimed that the higher rate of bone turnover
in the _Actonel Prescribing lnformation implied a decreased risk of atypical fracture Sales
representatives claimed that Fosamax suppressed bone to such an extent that it causes “frozen
bone,” whereas Actonel led to higher bone turnover closer to the pre-menopausal rate “Therefore,
if you prescribe generic Fosamax, your patients will be much more likely to suffer an atypical
femur fracture than if you put them on Actonel,” they told health care professionals Sales
representativeswere trained to support this assertion by claiming:

Doctor, you have expressed concern about atypical femur factures. l have some

data that will help put you at ease Doctor, simply compare the package inserts of

these two products Actonel has higher bone turnover; thus it is creating healthier

bone Doctor, this means that a patient on Actonel is less likely to suffer an atypical

femur fracture than a patient on Fosamax. Doctor, why not prescribe Actonel, the

safest bisphosphonate for your patients‘?

This claim was doubly misleading: not only did it rely on a non-head-to-head comparison,

potentially introducing bias from differing patient populations and study methods it also made a

speculative leap from a single clinical marker (turnover rate) to clinical outcome (fracture risk),

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even though a multitude of factors influence that connection

168. ln an October 28, 2010 email forwarded across the country by Regional Sales
Director Koellhoffer, District Manager Brent Kimble reminded sales representatives that, should
a physician express concern about atypical femur fractures it would be a “great opportunity to
differentiate Actonel from the competition” by comparing package inserts regarding the half-life
of the drugs The supposition was that the drug with the shorter half-life would result in less fragile
bone and therefore greater efficacy There is no data to support this theory9 which requires a
significant number of speculative leaps. in his emmail, however, K.imble stated: “Keep in mind the
Actonel half life vs. Fosamax.” A.ttached to the e-mail was an off-»label, unapproved commentary
intended for use in the fiele Statement by National Osteoporosis Foundation Regarding Use of
Bisphosphonates (National Osteoporosis Foundation, Washington, D.C.), l\/lar. 11,2010. Kimble’s
email, forwarded through Koellhoffer, made clear that misleading superiority claims regarding
Actonel’s safety risks were not limited to Relator Alexander’s district but were espoused
nationwide

169. Beginning in early 2010, Warner Chilcott used the “MOA Study” to claim that
Actonel conferred faster acting and more complete vertebral and non-vertebral protection than
competing oral bisphosphonates R.G.G. Russell et al., Mechanisms ofAcrion ofBisphosphonures:
Similarities and Dijj”erences and Thcir Pofenrz`al Injluence on Clinical Ejjfcacy, 19 Osteoporosis
International 733 (2008) (referred to internally as the “Mechanism of Action Study” or “MOA
Study”). The MOA Study was not a clinical trial'. it did not enroll any patients or measure any
clinical outcomes Rather, it was an examination of the varying mechanisms of action of
bisphosphonates based on which it then speculated as to clinical implications

170. Of the four listed authors three disclosed having received speaking honoraria,

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consulting fees and research support from Procter &, `Gamble, which owned Actonel at the time
The fourth author was an employee of Procter &, Gamble. Given the considerable degree of
authorial discretion that exists in drawing connections between a drug’s mechanism of action and
its supposed clinical implications the apparent bias of the authors is particularly relevant in this
case - even more so than in a clinical trial where outcome measures tend to be more objective,
as well as predefmed. Nonetheless `Warner Chilcott did not disclose this bias as part of sales
representatives details

l7lv At a POA meeting in Chicago on July 14, 2010, osteoporosis sales representatives
were trained to make two separate superiority claims based on the MOA Study’s conclusions
First, their managers demonstrated and sales representatives practiced role plays using the MOA
Study to claim that Actonel had the “lowest affinity” for the bone of any oral bisphosphonate, and
as a result, that Actonel offered more complete vertebral and nonvertebral fracture protection than
competing bisphosphonates

Doctor, what this means to you and your patients is that Actonel has a less “sticky”

design compared to Fosamax® and Boniva®, which provide very little skeletal

protection Boniva® has only been proven to work at the spine, whereas Actonel is

able to “coat” the entire skeleton, thus providing your patients with total body non-

vertebral fracture protection 1

172. Second, sales representatives practiced role plays claiming, based on the l\/IOA
Study, that Actonel had the c‘highest potency” of any oral bisphosphonate:

Doctor, what this means for you and your patients is that as a result of this high

potency, Actonel will be that fastest acting bisphosphonate With Actonel, your

patients will see vertebral and nonvertebral fracture protection in as little as six

months Boniva and Fosamax® can take years to work.

173. At the direction of their managers sales representatives practiced closing their calls

by saying: “Doctor, as a result of the design of the Actonel molecule, Actonel will-give you the

most complete fracture protection in the quickest amount of time.”

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174. On Gctober 10, 2010, Regional Sales Director Koellhoffer forwarded an email
chain from sales representative Dana l\/liller and District l\/lanager Brent Kimble across the country.
ln the original email, Kimble recapped her attendance at the dlst Annual Rheumatology
Symposiurn where she spoke with Dr. Nelson Watts. ln doing so, l\/liller and Kimble both c
confirmed that “affinity and potency” (the “l\/lOA story”) were being promoted as Warner
Chilcott’ s primary Actonel sales message in the field with health care professionals Kimble stated:
“’Dr. Wat‘ts also spoke to the need for moderate affinity and high potency which is exactly the same
message we have been conveying to our customers” (emphasis added).

175. Shannon Schneider, a former Proctor and Gamble Pharmaceuticals (“P&GP”) sales
representative from LaCrosse, Wisconsin, who was responsible for selling Warner Chilcott’s drugs
in Wisconsin and Minnesota, raised concerns for nearly a year with her district manager, Craig
Ott, that using unapproved studies such as the MOA Study was illegal Ott not only refused to
merit her concerns he berated her for raising them. During a ride along with Schneider a physician
asked to see the clinical support for Warner Chilcott’s affinity and potency claims and Ott told
the physician that Schneider would get him a copy. When they left the doctor’s office, Schneider
again raised her concern that the MOA Study was unapproved and was being used to promote
Actonel off-label. Again, Ott berated her, at which point she raised her concerns with Ott’s
manager, Koellhoffer. Schneider was later told that using downloaded, unapproved studies had
been “approved” by Warner Chilcott.

176. Beginning in July 2010 and continuing through December 2010, Warner Chilcott
trained sales representatives to make superiority claims based on three additional studies None of
these studies was adequately designed or of sufficient quality to support Warner Chilcott’s

superiority claims which were unsubstantiated and misleading

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l'7'7. Sales representatives first received official training on the studies at a POA meeting
in Chicago on Septernber 28~30, 2010, although by that point sales representatives had already
been g"unofficially” using the off-label studies for two months On September 24, 2010, DM
Johnson forwarded the email for her district to legacy P&GP representatives Peter Zimmerrnan,
iohn Payne, and former FCA Relator Alexander, attaching the Adachi, REAL, and Ringe Studies.
Johnson informed them that the POA meeting would include role play exercises incorporating the
REAL, Adachi, and Ringe Studies into their promotions, and that participants would include not
only the l\/lidwest region but saleslrepresentatives from across the country as well. The regional
sales directors approved this agenda.

178. Warner Chilcott also used the °‘Real Study 18.” R..L Silverrnan er al., Ey_ffectiveness
of Bisphosphonates on Nonvertebral and Hip Fracrures in the Fr`rsf Year of Therapy'. The
Risedronate and Alendronare (REAL) Cohorf Study, 18 Osteoporosis lnternational 25 (2007). ln
a voicemail message forwarded by District l\/Ianager Julie Johnson on October 15, 2010, sales
representative Jessica Rosignal described her success using the “REAL Study 318” and MOA
Studies to convince a physician to prescribe Actonel instead of generic Fosamax: “So I talked a
little about the MOA story with him [b]ut what really sealed the deal was talking about the
REAL study. . . .” The physician called the pharmacy and notified the patient while Rosignal was
still in the office. At the meeting, sales representatives were trained to and practiced promoting the
REAL Study as evidence that Actonel had a proven 43% lower hip fracture rate than branded
Fosa.max. Given that the REAL Study was a cohort study, it was subject to significant bias and not
adequate evidence upon which to make this claim. Nonetheless, managers instructed sales
representatives to go a step further, and since the REAL Study examined branded Fosamax, to

claim that Actonel’s advantage versus generic Fosamax would be even greater than that

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demonstrated in the RE`AL Studyq

179. Another improper study was the “’Adachi Study 320.” Daniel T. Grirna er al.,
Adverse Events, Bone Mineraf Densiiy and Discontinuation Associa.ted with Generic Alendronate
Among Posrmenopausal Women Freviously Tolerant of Brand Alendronate: A Rerrospecrive
Cohort Study, ll Bl\/IC l\/Iusculoskeletal Disorders 68 (2010). The Adachi Study was a
retrospective cohort study, which followed 301 patients who switched from branded to generic
alendronate and compared the incidence of certain adverse events and clinical outcome measures
prior to and following the switch. Warner Chilcott trained sales representatives to promote that
patients taking generic alendronate (such as Fosarnax) experienced significantly lower bone
mineral density (“BMD"’) and a four~fold increase in gastrointestinal problems when switched
from a branded alendronate such as Actonel. The four-fold figure was calculated based on a
discontinuation rate of 79% due to gastrointestinal problems among patients on generic versus a
21% among those on branded,- meaning a 3.76-fold increase Koellhoffer directed sales
representatives to round this figure up to four, and to claim that the higher gastrointestinal side
effects of the generic led patients to discontinue therapy at a four-fold rate compared to Warner
Chilcott’s branded product

180. ln addition, sales representatives were trained to claim that generic versions of-
alendronate would vary widely in their dissolution time, from 2 to 10 times faster to 5 times slower
than their branded counterparts Slower dissolution, managers told sales representatives, would
l lead to increased drug exposure and toxicity, causing generic alendronate to result in significantly
more gastrointestinal side effects than branded Actonel. lAlternatively, sales representatives were
to claim that faster disintegration would result in the generic tablet coming into contact with food

or beverage, resulting in reduced absorption and compromised fracture protection Thus, the

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message was that A.ctonel would provide superior fracture protection compared with generic
alendronate However, there was no parallel cohort that remained on branded alendronate; all
patients switched, and the study simply compared events in one time period versus the otherr Given
that a decline in bone mineral density over time would not be unexpected in a group of patients
diagnosed with osteoporosis, the study’s attribution of this decline to the switch to generic
alendronate is questionable

181. Not only were none of these claims supported by reliable clinical evidence, Actonel
was not even included in the Adachi Study: its comparisons were all between various forms of
alendronate

182. Another wrongly used study was the Ringe Study. Johann Ringe et al., Dif]%ren'ces
in Persistence, Safelfy and Ejj”zcacy of Géneric and Orz`gz`nal- Branded Once Weekly
Bisphosphonates in Parients With Postmenopausal Osteoporosis: l-Year Results of a
Retrospective Pafient Charr Review Analysz's, 30 Rheurnatology lnternational 213 (2009). The
Ringe Study was a retrospective chart review of 186 patients, and as such, subject to the potentially
significant biases inherent in non-randomized studies. Sales representatives were trained to use the `
Ringe study to promote that generic alendronate was clearly inferior to Actonel because it resulted
in five times more gastrointestinal side effects This figure was calculated based on 32 patients on
generic alendronate with gastrointestinal side effects divided by 9 patients on branded A_ctonel
with gastrointestinal side effe_cts, which equals a 3.4~fold increase Regional Sales Director
Koellhoffer again told representatives to “round up” to four- or five- times greater gastrointestinal
side effects. As was Wamer Chilcott’s standard promotional strategy, managers instructed
representatives to “keep it simple” and tout that A'ctonel had 40% to 50% lower BMD builds than

generic alendronate, despite the lack of reliable clinical evidence for these claims.

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183. A final improperly used study was the Sook~l?»in `Woo Study. SookmBin Woo et al.z
Sysrenzaric Review: Bisphosphonates and Osreonecrasis of the Jaws, 144 Annals of lntemal
l\/ledicine 753 (2006). Sales representatives received the Sook-Bin Woo Study in 2010q A.lthoughl
it was marked “Sales Training” and “Background lnformation Only,” Wamer Chilcott trained and
instructed sales representatives to use the study in their details with health care professionals to:
(a) minimize physician concerns about osteonecrosis of the jaw; (b) point out that most patients
who experienced osteonecrosis of the jaw were cancer patients undergoing treatment and taking
intravenous bisphosphonates like Reclast', and (c) point out that in this study, there was only one
reported case of osteonecrosis of the jaw with Actonel compared to thirteen reported cases with
Fosamax. Representatives were trained to concludei °‘Doctor, bottom line, if you are concerned
about osteonecrosis of the jaw, Actonel is clearly the least likely to cause this side effect in yourl
patients.” No head»to-head data supports this claim.

184. A number of sales representatives raised concerns regarding this off-label
superiority message with Warner Chilcott’s upper management For example, sales representative
Steven Justice asked how sales representatives could use unapproved studies to detail health care
professionals and make superiority claims. District l\/lanager Johnson and Regional Sales Director
Koellhoffer wrongfully responded that sales representatives were allowed to talk to doctors about
any information or study that the doctors could themselves locate on the internet.

185. As a result of Warner Chilcott’s pervasive scheme to promote sales of Actonel
based on fraudulent and illegal superiority claims, doctors were induced to prescribe Actonel
instead of cheaper, similarly effective generic altematives, causing injury to Plaintiffs’ Assignors
and the putative class members who paid for the higher priced Actonel.

Factual Summary

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186. Warner Chilcott’s fraudulent marketing schemes were developed and implemented
by Warner Chilcott’ s senior executives and managers, among whom Dermatology Director l\licola
Crawford, Osteoporosis Director Lenny Paolillo, Women"‘s Health Care Director l\/larc
l\/loskowitz, Regional Sales Director Mike Koellhoffer, and President of Pharmaceuticals Carl
Reichel were some of the most vigorous proponents l\/lanagernent made participation in Warner
Chilcott"s scheme of kickbacks, falsification of prior authorization requests, and misleading
promotional claims core requirements of both sales representatives and managers’ employment

18'7. Not even receipt of a subpoena, announced in Warner Chilcott’s Form lO»»K_ filed
on February 24, 2012, caused Warner Chilcott to stem its illegal sales practices In response to an
analyst’s question regarding the federal government’s investigation during an earnings call in
February 2012, CFO Herendeen responded: “[l]t’s something that,_ if you are in this business, it
happens.” Transcript, Q4 2011 Warner Chilcott PLC Earnings Conference Call - Final (Feb. 24,
2012), available at LEXIS FD (Fair Disclosure) Wire. He reiter-ated, “you know, it happens.” Id.

Warner Chilcott Conspr'red with Higk~Prescribing Health Care Professionals
to Defmnd Third Party Payers

188. One facet of Warner Chilcott’s schemes involved utilizing high~prescribing health
care professionals to further the overall fraudulent marketing of Warner Chilcott drugs through a
pattern and practice of false and misleading promotion, and payment of kickbacks (“overt acts”).

189. Warner Chilcott entered ` into unlawful financial arrangements with high-
prescribing health care professionals in exchange for those health care professionals’ writing
prescriptions that were submitted to and paid for by Medicare, MAOS, and other third party payers.
Warner Chilcott executives and sales managers directed Warner Chilcott’s sales force to gain the
agreement of these high-prescribing health care professionals to prescribe Warner Chilcott

Products in exchange for different forms of unlawful remuneration

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190 Warner Chilcott entered into written agreements including “Master Speaker
Services Agreements” and “Preceptorship Agreements,” through which it funneled monies in
furtherance of the conspiracies, with each of these high-prescribing health care professionals,
including those listed herein

l9l. The overt acts included the submission to of false'claims by these high-prescribing
health care professionals of knowingly false certifications of compliance with laws that are
conditions of government program paymentsa As a result of these false certifications, government
programs made payments to pharmacy providers, thereby increasing sales of Warner Chilcott"`s
drugs.

192. ln exchange for the unlawful financial remuneration these health care professionals
and their staffs received from Warner Chilcott, their patients, who at the time were Medicare
beneficiaries, were unlawfully referred to Warner Chilcott’s drug productsl

193. Wamer Chilcott and its co-conspirator health care professionals shared in the
conspiratorial objective to prescribe Warner Chilcott drugs, and further agreed and intended to
each perform and to each benefit from these unlawful overt acts in furtherance of Warner Chilcott’s
scheme to target and financially injure Medicare, MAOS, and other third party payers.
Accordingly, Warner Chilcott entered into these unlawful financial relationships for the purpose
of Defendants’ planned scheme to target Medicare, MAOS, and other third party payers to pay for
fraudulent prescriptions.. 7

194. Warner Chilcott corrupted the prescription drug dispensing process with its
multimillion dollar incentive programs that targeted doctors who, in exchange for illegal
kickbacks, steered patients toward its drugs. Such payments by Warner Chilcott to these health

care professionals are kickbacks and are not legitimate marketing and educational practices, but

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instead represent the corruption of the practice of medicine motivated by financial gain.,

l95. Defendants intentionally conspired with one or more of these health care
professionals to get a false or fraudulent claim allowed or paid by the United States, including
MAOS; one or more of these conspirators performed one or more overt acts to affect the object of
the eonspiracy; and government programs suffered damages as a result of the false or fraudulent
claims.

The Qm‘ Tanr Case

196.\ As previously described above,lon March 30, 2011, an FCA Qaz` Tam Complaint
was filed against the Defendants, principally Warner Chilcott Sales US, in the District of
Massachusetts alleging four counts of violations of the Federal FCA and numerous violations of
state counterparts

197. On November 19, 2012, Relators filed a First Amended Complainto On Janua:ry 2,
2013, the United States filed a Notice declining intervention On April 22, 2013, Relators filed a
Second Amended Complaint

198. On August 2, 2013, Defendants filed a Motion to Dismiss the Second Amended
Complaint

199. On August 21, 20l 3, Relators filed their Third Amended Complaint.

200, The Third Amended Complaint alleged essentially the same allegations and actions
as those alleged herein. l

201. On September 20, 2013, Defendants filed their l\/Iotion to Dismiss the Third
`Amended Complaint.

202. On October 3l, 2013, the United States of America filed, under :seal, a Motion to

Stay the qui ram case.

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203. On November 4, 2013, the court granted the l\/lotion to Stay until l\/iarch 39 2014.

204. On February 28, 2014, the United States of America filed another l\/lotion to Stay, n
which the court granted on l\/larch 6, 2014, extending the stay untillune 2, 2014.

205. On l\/lay 30, 2014, the United States filed and the Court granted another l_\/lotion to
Stay, which stayed the case until December l, 20l4.

206. On December 2, 2014, upon l\/lotion, the Court extended the stay until l\/lay 15 2015.

207. On May l, 2015, the United States filed a Seventh Motion to Stay, which the court
grantedthe Mo_tion, extending the stay until July 1, 2015. `

208. On July 23, 2015, the court denied the l\/lotion to Dismiss that was filed on
September 20, 2013, and stayed the case for an additional 90 days, until October 21, 2015.

209. On October 29, 2015, the Relator, the United States and Defendant, `Wamer
Chilcott, entered into a Settlement Agreement.

210. Defendant agreed to pay 8112,642,306.00 to resolve the allegations raised by the
Qui Tam Complaint

211. The Settlement Agreement included the actions related to the following drugs,
Actonel, Asacol, Asacol HD, Atelvia, Doryx, Enablex, Estrace, Loestrin 24 Fe, and Lo Loestrin.

212. From September 20, 2013, until luly 23, 2015, the qui ram case was stayed, with
effectively no rationale for the long stay. As of June 20, 2018, all the United States’ Motions to
Stay are still under seal. l l

The Criminal Healtn Care Fraud Case

213. As described above, on October 29, 2015, five days after the defendant Motion to
Dismiss in the qui ram case was denied, the Department of Justice filed a criminal Inforrnation for

Health Care Fraud (18 U.S.C. § 1347) against the defendantl

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214, The information included allegations relating to the defendant’s knowingly and
willfully executing a scheme and artifice to defraud l\/ledicare by means of materially false and
fraudulent pretenses, representations, and promisesj money and property owned by, and under the
custody and control ofJ Medicare, in connection with the delivery of and payment for health care
benefits, items and services in violation of 18 U.`E_i.Cq § 1347(2).

215. During a Status Conference, Defendants specifically stated that a vast majority of
the schemes victims were health insurance plans, like Plaintiffs’ Assignors.

216. Defendants knew the practical effect of the scheme affected health insurance plans
so much so that the following questions were asked:2

l The Court: Arn l right, the claimants are going to be insurers? -
Defense Counsel: Predominately.
The Court: Predominately but not exclusively?
Defense Counsel: lt is possible that there are individuals out there
who received one of these drugs. We anticipate, and it’s possible
that we’ll get a number of insurance type claims We do believe that
that will be the predominant type of claim that we receive in this
case, your Honor.

217. This conversation between the Court and defense counsel clearly lays out that
health insurance companies, like Plaintiffs’ Assignors, were the intended victims of the schemes
perpetrated by Defendants.

218. These violations were enumerated in the one charge of healthcare fraud against

Defendants, which was comprised of the three-part scheme outlinedabove, and Warner Chilcott

 

2 Status Conference 'l`ranscript, December 17, 2015. 4-5:21-11. See attached “Exhibit C”.

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admitted to the essential elements of each prong of the scheme and sentenced on April 15, 2016.
TOLLENG OF THE STATUTE OF LIMITATIONS
DISC©VERY RULE TOLLING n

219. Plaintiffs had no way of knowing about the Defendants’ scheme and deception with
respect to the Warner Chilcott scheme

-220. Warner Chilcott refused to disclose the scheme labeling them trade secrets, hence
a reasonable plaintiff and consumer could not discover the truth

221. Within the time period of any applicable statutes of limitation, Plaintiffs and
members of the proposed class could not have discovered through the exercise of reasonable
diligence that Defendants were concealing the conduct complained of herein and misrepresenting
the nature of Warner Chilcott’s scheme -

222. Plaintiffs and the other class members did not discover, and did not know of facts
that would have caused a reasonable person to suspect, that the defendants were engaged in the
overall scheme and were committing the above mentioned individual schemes, nor would a
reasonable diligent investigation have disclosed the true facts.

223. For these reasons, all applicable statutes of limitations have been tolled by operation
of the discovery rule with respect to claims as to all Warner Chilcott Products identified herein.

l ' FRAUDULENT CONCEALMENT TOLLING

224. All applicable statutes of limitation have also been tolled by Defendants’ knowing
and active fraudulent concealment and denial ofthe facts alleged herein throughout the time period
relevant to this action. n

225. The federal doctrine of fraudulent concealment operates to toll the statute of

limitations “where` a plaintiff has been injured by fraud and ‘remains in ignorance of it without any

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'J‘)‘)

fault or want of diligence or care on his part.
226. Sufficient facts were unavailable to put Plaintiffs“ Assignors on inquiry notice of
the possibility of f`raud.
227., Further, Plaintiffs exercised reasonable due diligence in attempting to uncover the
factual basis underlying the fraudulent conduct
EQUITABLE ESTOPPEL
228. Defendants were under a continuous duty to disclose to Plaintiffs’ Assignors the
true nature of the schemes upon which payments for the Wamer Chilcott Products were based
229. Based on the foregoing, Defendants are estopped from relying on any statutes of
limitations in defense of this action,
STATUTORY TOLLING
230. Due to the fact that several criminal proceedings were initiated by the United States
based on these same allegations, during the pendency of those criminal proceedings the statute of
limitations were tolled.
CLASS ALLEGATIONS
231. Plaintiffs bring this action on behalf of themselves and the following classes:
232. Class 1: All l\/ledicare Advantage Organizations and related
entities in the United States and its territories who purchased, paid,
provided reimbursement, and/or possess the recovery rights to
reimbursement, for some or all of the purchase price of Defendants’ blood
glucose test strips pursuant to l\/ledicare Part C and D contracts offering
Medicare Part D services from January 1, 2009, to present This class
excludes: (a) Defendants, their officers, directors, management,
employees, subsidiaries, and affiliates; (b) all_federal and state
governmental entities except for cities, towns, or municipalities with self-
funded prescription drug plans', and (c) any judges or justices involved in

this action and any members of their immediate families

233. Class 2: All MAO, MA~_PD, or PDP sponsors and related entities
in the United States and its territories who purchased, paid, provided

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reimbursement, and/or possess the recovery rights to reimbursement, for
some or all of the purchase price of Defendants’ blood glucose test strips
pursuant to l\/ledicare Part D contracts providing services from January l,
2009 to present This class excludes: (a) Defendants, their officers,'
directorsj management, employees, subsidiaries, and affiliates; (b) all
federal and state governmental entities except for cities, towns, or
municipalities with self-funded prescription drug plans; and (c) any judges
or justices involved in this action and any members of their immediate
families
234. Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23 both
individually and on behalf of all MAOS and related entities who have contracted with Cl\dS to
provide coverage for thousands of beneficiaries and all other individuals similarly situated which
claims have been assigned to Plaintiffs that comprise (a) national injunctive class and/or (b)
national damage classes and/or (c) various state-wide damage sub-classes, during the period from
January 1, 2009, to the present
235. As discussed in this Class Action Complaint, Defendants have enjoyed ill-gotten
gains from the sales of Warner Chilcott Products at the expense of individual beneficiaries and
Class l\/Iembers suffering damages to their property and business Such damages apply to all
individual Class Members (and Plaintiffs as the rightful assignee of those organizations that
assigned their rights to Plaintiffs). Class action law has long recognized that', when a company
engages in conduct that has uniformly harmed a large number of claimants such as Plaintiffs, other
third-party payers, and consumers, class resolution is an effective tool to redress the harm.
236. Here, the Class l\/lembers have been deprived of property and money by being
caused to purchase prescriptions of Warner Chilcott Products due to and as a direct result of
Defendants engaging in racketeering activity as alleged throughout this Complaint.

237. The Class is properly brought and should be maintained as a class action under Rule

23(a), satisfying the class action prerequisites of numerosity, commonality, typicality, and

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adequacy:
Numerosity: There are hundreds of entities (including the
organizations that assigned their rights to Plaintiffs) throughout the
United States that were forced to pay for improper and fraudulent
prescriptions of Warner Chilcott Products Thus, the numerosity
element for class certification is met.
Connnonality: Questions of law or fact are common to all members
of the Class Defendants’ illegal pattern of racketeering activity and
unlawful conduct having a common, adverse effect on all Class
l\/lembers, Specifically, Defendants’ misconduct was directed all
_members of this Class Defendants’ unlawful racketeering scheme
had a common, adverse effect on all purchasers of Warner Chilcott
Products Therefore,' common questions of law or fact are prevalent
throughout the class, i.e,J whether Defendants engaged in a pattern of
racketeering activity and conspired to provoke Class Members into
paying for illegally prescribed Warner Chilcott products Each Class
Member shares the same needed remedy, i.e., reimbursement for
unlawfully paid bills and lost money due to the Defendants’
racketeering activity, disgorgement of the Defendants’ profits from
the illegal venture, and imposition of injunctive and equitable relief
to stop Defendants from continuing in their activities
Typicality: Plaintiffs’ claims are typical of the claims of the Class

because their claims arise from the same course of conduct by

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Defendants i.e., racketeering activity and unlawfully submitting

Warner Chilcott product bills for payment Plaintiffs’ Assignors paid

or reimbursed-for prescriptions of Warner Chilcott products where

they would have not submitted payment as a consequence of

Defendants’ pattern of racketeering activity. Plaintiffs’ claims arej

therefore, typical of the Class

Adeguacy: Plaintiffs will fairly and adequately represent and protect

the interests of the Class lts interests in vindicating these claims are

shared with all members of the Class. ln addition, Plaintiffs is

represented by competent and experienced counsel in class action

litigation.

238. The Class is properly brought and should be maintained as a class action under Rule
23 (b) because a class action in this context is superior. Pursuant to Rule 23(b)(3), common issues
of law and fact predominate over any questions affecting only individual members of the Class.
Defendants deliberately conspired to submit bills for Warner Chilcott Products for payment that
otherwise would have not been paid but for Defendants engaging in a pattern of racketeering
activity, thus depriving Plaintiffs’ Assignors of funds used to pay for the unlawfully submitted
bills n
239.l The Class is also properly brought and should be maintained as a class action under

Rule 23(b)(2) and (b)(3). Defendants have acted or refused to act on grounds that apply generally
to the Class, such that final injunctive relief or corresponding declaratory relief is appropriate with
respect to the class. Additionally, Defendants’ acted in such a way that questions of law or fact

predominate over any questions affecting only individual members and that a class action is

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superior to other available methods for fairly and efficiently adjudicating the controversy
240. Plaintiffs allege that they paid for prescriptions of Warner Chilcott Products that
they otherwise would not have paid, but for Defendants" racketeering conduct
CLAlMS FOR RELIEI+`

Count 1
VlOLA’l`lONS OF 18 U.S.C. § 1962(€) AND (D)

241. Plaintiffs re-alleged and incorporate by reference each of the allegations contained
in the preceding paragraphs of this Complaint

242. At all relevant times, the Defendants have been “persons” under l8 U.S.C. §
- 1961(3)_ because they can holdj and do hold, “a legal or beneficial interest in property."”

243. Section 1962(c) makes it “unlawful for any person employed by or associated with '
any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to
conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a
pattern of racketeering activity.” 18 U.S.C. § 1962(0).

244. Section 1962(d) makes it unlawful for “any person to conspire to violate” Section
1962(c), among other provisions See 18 U.S.C. § 1962(d).

245. As explained in detail above, Defendants sought to infiltrate the business
arrangement established.between the aforementioned physicians located throughout the country as
well as John Does #1-100, un-identified physicians and clinical researchers who agreed to and
received remunerations for the writing-of prescriptions and publishing of research studies as
physicians placed under a duty to act in their patients best interests health plans and pharmacies
across the country through a fraudulent scheme designed to secure greater profits and market share
for the Warner Chilcott Products and extract hundreds of millions of dollars of revenue from

Plaintiffs’ Assignors and the putative class members As detailed below, the Defendants’

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misconduct violated § l962(c).
Description ofthe Warner Chilcott Enrcrprise.

246. RlCO defines an enterprise as “any individual, partnership, corporation,
association, or other legal entity, and any union or group of individuals associated in fact although
not a legal entity.°’ 18 U.S.C. § 1961(4). An association-in-fact enterprise requires three structural
features: (1) a purpose; (2) relationships among those associated with the enterprise; and (3)
longevity sufficient to permit those associates to pursue the enterprise’s purpose

247. For years, physicians played the meaningful role in patient care, treating patients
for their ailments and prescribing drugs, when necessary, based on efficacy and FDA authorized
usages l

248. g -However, starting in the 20003 and continuing into the 2010s Warner Chilcott
began to exert unlawful influence in the physician-patient relationship by offering millions of
dollars in illegal remunerations or kickbacks including speaking arrangements and lavish free
l meals wherein pharmaceutical product information was discussed in passing only if at all.

249. Said speaking arrangements and free meals amounted essentially to nothing but
social engagements having nothing to do with dissemination of pharmaceutical information

250. These speaking arrangements and dinners were done without any regulatory or
compliance coordinators in attendance and many times with the sales person having little to no
experience with health and regulatory laws n

251. Warner Chilcott instituted into its regular business practice falsification of prior
authorization requests usurping Plaintiffs’ Assignor’s formulary thereby causing Plaintiffs’
Assignors to pay full price for medications that were otherwise not authorized and fraudulent

252. Warner Chilcott also'instituted into .its regular business practice the unlawful

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promotion of is drugs through the use of unsubstantiated and illegal superiority claims.

253. This comprehensive scheme of unlawful sales practice and promotion and unlan
kickbacks to physicians heavily benefited Defendant Warner Chilcott and un»named co-=
conspirators, by exponentially raising the volume of Warner Products sold, thereby increasing
Warner Chilcott’s revenue

254. _ At all relevant times, Warner Chilcott, along with pharrnacies, physicians, and sales
persons, operated an ongoing association-in»fact enterprise The sole purpose of this association-
in-fact enterprise was ensuring that Warner Chilcott products were prescribed on an elevated basis,
based on providing illegal remuneration to physicians, providing false superiority claims, and
falsifying prior authorization requests to insurance companies to have the Warner Chilcott
Products paid for by Plaintiffs’ Assignors and the putative class membersl

255. Defendants caused the submission of fraudulent payments based on certifications
inherent in submitting bills for payment from any government healthcare program. These
certifications include compliance with the AKS and the FCA.

256. These actions constituted a pattern of racketeering activity under 18 U.S.C. §
1961(4).

257. At all relevant times, the Warner Chilcott Enterprise constituted a single
“enterprise” or multiple enterprises within the meaning of 18 U.S.C. § 1961 (4), as legal entities,
as well as individuals and legal entities associated-in-fact for the common purpose of engaging in
_ Defendants’ profit-making scheme l

258. The association-in-fact Warner Chilcott RICO Enterprise consisted of the
following entities and individuals: (a) Warner Chilcott plc, its subsidiaries, executives, employees,

and agents; (b) Actavis Pharma, lnc., its subsidiaries, executives, employees, and agents; (c)

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Allergan plc, its subsidiariesj executives,_ employees, and agents; and (d) un-»named co~
conspirators

259q n While each of the Warner Chilcott RICO Defendants acquiredz maintained control
of, were associated with, and conducted or participated in the conduct of the Warner Chilcott RlCO
Enterprise’s affairs, at all relevant times, the Warner Chilcott RICO Enterprise: (a) had an
existence separate and distinct from each Defendant; (b) was separate and distinct from the pattern
of racketeering in which the Defendants engaged; and (c) was an ongoing and continuing
organization consisting of legal entities, including the lDefendants, along with other individuals
l and entities, including unknown third parties.

260. The Defendants and their co-»conspirators, through their illegal `Warner Chilcott
RICO Enterprise, engaged in a pattern of racketeering activity, which involved a fraudulent
scheme to increase revenue for the Defendants and the other entities and individuals associated-
in-fact with the Warner Chilcott RlCO Enterprise’s activities by illegal obtaining payment for
Warner Products.

261. Warner Chilcott orchestrated the scheme, whereby War_ner -Chilcott, as a
manufacturer, leveraged its dominate position in the market by providing illegal remuneration to
physicians that prescribed their products on an elevated basis and by promoting the drug based on
false representations about its efficacy compared to other products

262. Unnamed co-conspirator physicians facilitated the Wa.rner Chilcott RICO
Enterprise by agreeing to prescribe Warner Chilcott Products to obtain and maintain illegal
remunerations from Defendants.

263. ln furtherance of the scheme, the Defendants each affirmatively misrepresented or

concealed the existence of the illegal remuneration scheme as well as the existence, amount, and

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purpose of the kickbacks given to physicians

The Warner Chilcott RICO Enrerpr_ise Soughr to Fraudulently Increase Defendants ’ Pro]’its and '
Revenaes. .

264. Each Defendant benefited financially from the Warner Chilcott RICO Enterp'rise.
Warner Chilcott received higher profits and revenues based on increased prescriptions of the
Warner Chilcott Products.

`265. _ Unnamed co~conspirator physicians and their staff members profited by obtaining g
and maintaining illegal remunerations based on their level of prescribing Warner Chilcott
Products.

266 The Defendants and their unnamed co-consp`irators, through the illegal Warner
Chilcott RICO Enterprise, engaged in a pattern of racketeering activity, which involved a
fraudulent scheme to increase revenue for the Defendants and the other entities and individuals
associated-»in-fact with the Warner Chilcott RICO Enterprise’ s activities through the illegal scheme
to inflate the number of Warner Chilcott Products prescribed by giving remunerations to
prescribing physicians and physician staff members and by false representations about the efficacy
of the Warner Chilcott Products compared to other drugs. Further, Defendants committed wire
fraud by submitting bills, using interstate wires, for payment that were not in compliance with the `
AKS and therefore amounted to FCA violations or l\/ledicare fraud. l

267. The Warner Chilcott RICO Enterprise engaged in, and its activities affected,
interstate and foreign commerce because it involved commercial activities across state boundaries,
such as the marketing, promotion, advertisement, distribution, and sale of pharmaceutical products
throughout the country, and the receipt of monies from the sale of` the same.

268. Within the,Warn-er Chilcott RICO Enterprise, there was a common communication

network by which Defendants and unnamed co~conspirators shared-information on a regular basis.

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The Warner Chilcott RICO Enterprise used this common communication network for purposes of
marketing, and engaging in negotiations regarding Warner Chilcott Products and setting up MedEd
and promotional speaker events n

269. Each participant in the Warner Chilcott RlCO Enterprise had systematic linkages
to each other through corporate ties contractual relationships financial ties and a continuing
coordination of activities Through the Warner Chilcott RlCO Enterprise, the Defendants
functioned as a continuing unit with the purpose of furthering the illegal scheme l

270. The Defendants participated in the operation and management of the Warner
Chilcott RICO Enterprise by directing its affairs as described herein. While the Defendants and
unnamed coconspirators participated in, and are members of, the enterprise, they have a separate
existence from the enterprise, including distinct legal statuses, different offices and roles bank
accounts officers directors employees individual personhood, reporting requirements and
financial statements

271. The Defendants exerted substantial control over the Warner Chilcott RlCO
Enterprise, and participated in the affairs of the enterprise by: (a) kickbacks for the Warner Chilcott
Products described herein', (b) misrepresenting and/or concealing the existence, amount, or
purpose of the kickbacks for the Warner Chilcott Products described herein; (c) misrepresenting
and/or concealing the effect that the off~label promotion of drugs had on prescriptions (d)
concealing the cost-sharing coupons'given to l\/ledicare beneficiaries in violation of federal law;
and (e) concealing the falsification of prior authorization requests that caused exorbitantly more
expensive Warner Chilcott Products to be purchased rather than cheaper products

272. Without each Defendant and unnamed co-conspirator’s willing participation, the

scheme and common course of conduct would not have been successful

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273, The Defendants directed and controlled the ongoing organization necessary to
implement the scheme at meetings and through communications of which Plaintiffs cannot fully
know at present, because such information lies in the Defendants’ and others’ hands

Predz'cate Acrs.' Mafl and Wire Fraud.

274. T.o carry out, or attempt to carry out,`the scheme to defraud, the Defendants and
unnamed co-conspirators each of whom is a person asso-ciated-in-fact with the Warner Chilcott
RICO Enterprise, did knowingly conduct or participate, directly or indirectly, in the affairs of the
Warner Chilcott RICO Enterprise through a pattern of racketeering activity'within the meaning of
18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and employed the use of the mail and wire facilities
in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

275. Specifically, the Defendants and unnamed co-conspirators have committed,
conspired to commit, and/or aided and abetted in the commission of, at least two predicate acts of
racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343), within the past ten years

276l The multiple acts of racketeering activity which the Defendants and unnamed co-
conspirators committed, or aided or abetted in the commission of, were related to each other, posed
a threat of continued racketeering activity, and therefore constitute a “pattern of racketeering
activity.’el The racketeering activity was made possible by the Defendants’ regular use of the
facilities services distribution channels and employees of the Warner Chilcott RICO Enterprise.

-The Defendants and unnamed co-conspirators participated in the scheme to defraud by using mail,
telephone, and the lnternet- to transmit mailings and wires in interstate or foreign commerce `

277. The Defendants and unnamed co-conspirators used, directed the use of, and/or
caused to be used, thousands of interstate mail and wire communications in service of their scheme

through virtually uniform misrepresentations concealments and material omissions

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278 ln devising and executing the illegal scheme, the Defendants and unnamed co-
conspirators devised and knowingly ca.rried out a material scheme and/or artifice to defraud
Plaintiffs or to obtain money from Plaintiffs by means of materially false or fraudulent pretenses
representations promises or omissions of material facts To execute the illegal scheme, the
Defendants and unnamed co-conspirators committed these racketeering acts which number in the
thousands intentionally and knowingly with the specific intent to advance the illegal scheme

279. The Defendants and unnamed co-conspirator’s predicate acts of racketeering (18
U.SHC. § 1961(1)) include, but are not limited to:

l\/lail Fraud: The-Defendants and unnamed co-conspirators violated l8 U.S,C. § 1341 by

sending or receiving, or by causing to be sent and/or received, materials via U.S. mail or

commercial interstate carriers for the purpose of executing the unlawful scheme to
unlawfully sell Warner Chilcott Products described herein by means of false pretenses
misrepresentations promises and omissions

Wire Fraud: The Defendants and unnamed co-conspirators violated 18 U.S.C. § 1343 by

transmitting and/ or receiving, or by causing to be transmitted and/or received, materials by

wire for the purpose of executing the unlawful scheme to defraud and obtain money on
false pretenses misrepresentations promises and omissions `

280. The Defendants and unnamed co-cons`pirators’ use of the mails and wires include,
. but are not limited tot (a) the transmission of marketing or other materials indicating,_ setting, or
negotiating the price of the Warner Chilcott Products described herein; (b) the transmission of
marketing or other materials indicating or advertising that any of the Defendants provide or receive
illegal remuneration for the prescribing of Warner Chilcott Products; (c) written, telephone, or
electronic communications regarding and/or negotiating the kickback amount of the Warner
Chilcott Products described herein', (d) the transmission and/or distribution of the Warner Chilcott
Products described herein through the mails and (e) the use of the mails or wires to bill for or

collect discounts revenues and/or profits from the sale of such Warner Chilcott Products

described herein.

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281. The Defendants and unnamed co»conspirators also communicated by U.S. mail, by
interstate facsimile, and by interstate electronic mail with various other affiliates regional offices
divisions dealerships and other third-party entities in furtherance of the scheme_

282. 'l"he mail and wire transmissions described herein were made in furtherance of
Defendants’ scheme and common course of conduct designed to increase the cost of-Warner
Chilcott Products and fraudulently extract hundreds of millions of dollars of revenue from _
Plaintiffs.

283. l\/lany of the precise dates of the fraudulent uses of the U.S. mail and interstate wire
facilities have been deliberately hidden, and cannot be alleged without access to Defendants’ books
and records However, Plaintiffs have described the types of, and in some instances occasions on
which the predicate acts of mail and/or wire fraud occurred They include thousands of
communications to perpetuate and maintain the scheme, including the things and documents
described above.

284. Further, as evidence of the submission of bills that stem from violations of the AKS
attached hereto and incorporated herein is Exhibit B, Plaintiffs’ claims data evidencing submitting
bills for payment Each claim for payment is a separate and distinct violation of the wire fraud
statute that constitutes predicate acts for Plaintiffs’ RICO count.

285. The Defendants have not undertaken the practices described herein in isolation, but
as part of a common scheme and conspiracy ln violation of 18 U.S.C. § 1962(d), the Defendants
and unnamed co-conspirators conspired to violate 18 U.S.C. § l962(c), as described herein
Various other persons firms and corporations including third-party entities and individuals not
named as defendants in this Complaint, have participated as co-conspirators with the Defendants

in these offenses and have performed acts in furtherance of the conspiracy to increase or maintain

Page so bills

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revenues increase market share, and/ or minimize losses for the Defendants and their unnamed co-
conspirators throughout the illegal scheme and common course of conductl

286, The Defendants aided and abetted the unnamed co-conspirators and others in the
violations of the above laws

287. To achieve their common goals Defendants hid from Plaintiffs’ Assignors
insurers health plans and the general public the illegal remunerations and false prior
authorizations for the Warner Chilcott Products and the relationship between the Defendants and
unnamed co-conspirators and their impact upon Warner Chilcott Products being prescribedherein,
and the existence, amount, and purpose of remunerations given for the Warner Chilcott Products
described herein.

288. The Defendants and each member of the conspiracy, with knowledge and intent,
agreed to the overall objectives of the conspiracy and participated in the common course of
conduct lndeed, for the conspiracy to succeed, each of the Warner Chilcott RICO Defendants and
their co-conspirators had to agree to conceal their fraudulent prior authorizations and sales tactics

289. Defendants knew, and intended that, Plaintiffs would rely on the material
misrepresentations and omissions made by them and incur increased costs as a result. lndeed, if
Defendant and unnamed co-conspirators did not make remunerations and false prior authorizations
for the Warner Chilcott Products described herein, Defendant’s scheme could not succeed;

290. g As described herein, Defendants and unnamed co-conspirators engaged in a pattern
of related and continuous predicate acts for years The predicate acts constituted a variety of
unlawful activities each conducted with the common purpose of obtaining significant monies and
revenues from Plaintiffs based on their misrepresentations and omissions while providing Warner

Chilcott Products that were fraudulently prescribed The predicate acts also had the same or similar

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results participants victims and methods of commission 'l`he predicate acts were related and not
isolated events

291. During the Defendants’ speaker fees and dinner engagements the true purpose of

- the renumerations were revealed to each of the Defendants and unnamed co-conspirators.
Nevertheless the Defendants continued to disseminate misrepresentations regarding the Wamer
Chilcott Products as well as the existence, amount, and purpose of the kickbacks on those products
in furtherance of the scheme

292. Due to the conduct of the Defendants and unnamed co-conspirators and in
particular, their pattern of racketeering activity, Plaintiffs’ Assignors and the putative class
members have been injured in its business and/or property in multiple ways including but not
limited to paying for Warner Chilcott Products despite the illegal actions by Defendants and t
unnamed co-conspirators described herein.

293. Defendants’ violations of 18 U.S.C. §1962(c) and _(d) have directly and proximately
caused injuries andldamages to Plaintiffs’ Assignors as such Plaintiffs are entitled to bring this
action for three times their actual damages as well as injunctive/equitable relief, costs and
reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

Count II
VIOLATIONS OF STATE CONSUMER PROTECTION LAWS

1. 293. Plaintiffs re-allege and incorporate herein by reference each of the
allegations contained in the preceding paragraphs of this amended complaint

II)AH() CONSUMER PROTECTION ACT
(IDAHO CODE ANN. § 48-6)

294. Defendants are engaged in “trade or commerce” within the meaning of ldaho Code

Ann. § 48-602 during all relevant periods by, at a minimum, advertising, offering for sale, and

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selling the Warner Chilcott products described herein in ldaho, to Plaintiffs and through the
United States

295. Defendants actions included providing kickbacks to prescribing physicians located
in the State of idahoj causing health insurers to suffer losses in the state that would have not
happened but for Defendants various schemes to defraud

296. idaho Consumer Protection Act (“ICPA”) prohibits “[r]eprcsenting that goods or
services have sponsorship, approvalj characteristics ingredients uses benefits or quantities that
they do not have or that a person has a sponsorship, approval, status affiliation', connection,
qualifications or license that he does not have',"’ and “[e]ngaging in any act or practice which is
otherwise misleading, false, or deceptive to the consumer.” ldaho Code Ann. § 48-603(5) and (17)..

297. As detailed above, in the course of their business Defendants engaged in unfair,
unconscionable and deceptive acts or practices in violation of the above-noted provisions of ICPA
by perpetuating the fraudulent Warner Chilcott scheme as described herein.

298 Defendants owed and continue to owe Plaintiffs a duty to refrain from the above-
described unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme
described herein.

2'99. Defendants knew or should have known that their conduct was in violation of
ICPA. l

300. Despite knowing the true nature of their products and practices for years
Defendants intentionally and/or knowingly omitted and/or misrepresented material facts regarding
the Warner Chilcott scheme described herein, with the intent to mislead regulators and Plaintiffs’
Assignors, and continued to engage in unfair and deceptive practices in violation of ICPA.

301. Defendants’ unfair and deceptive acts or practices omissions and

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misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or didj in fact,
deceive regulators and reasonable consumers including Plaintiffs’ Assignors.

302. Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors
to pay for the Warner Chilcott products when they otherwise would not have paid for the products
Because Defendants did not reveal the true nature of the Warner Chilcott scheme as described
herein until this lawsuit was filed, the statute _of limitation for filing claims against Defendants
under the ICPA did not begin to accrue until the filing of this lawsuit Defendants either concealed
or-failed to reveal the facts until this filing

303. Plaintiffs suffered injury-in»fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/or
misrepresentations at a minimum, in the form of providing payment for the Warner Chilcott
products as described herein.

l 304. Defendants’ violations present a continuing risk to Plaintiffs as well as to the
general public. As such, Defendants’ unlawful acts and practices complained of herein affect the
public interest.

305. Plaintiffs are entitled to recover their actual damages under ldaho Code Ann. § 48-
608 and attorneys’ fees under ldaho Code Ann. § 48~d08(5).

306. Defendants actions have caused the submission of fraudulent claims as evidenced
in Plaintiffs’ Exhibit B, attached hereto. Each line of the exhibit gives the particulars relevant to
the requirements of Rule 9(b). -

307. Defendants admit that their actions directly caused health plans injuries as they
admit in a status conference for their criminal case, stating the following: l

308. Plaintiffs also seeks an order enjoining Defendants’ unfair, unlawful, and/or

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deceptive practices declaratory relief, attorneys’ fees and any other just and proper relief available
under the ICPAq l
'l`EXAS DECEPTI`VE TRADE - CONSUMER PROTECTION ACT
(TEX. BUS. & COM. CODE §§ 17.41, er seq.)

309. Defendants are engaged in “trade or commerce” within the meaning of Tex. Bus.
& Com. Code § 17.45 during all relevant periods by, at a minimumj advertising, offering for sale,
and selling the Warner Chilcott products described herein in Texas, to Plaintiffs and throughout
the United States

310. Defendants actions included providing kickbacks to prescribing physicians located
in the State of Texas causing health insurers to suffer losses in the state that would have not
happened but for Defendants various schemes to defraud.

31 l. Texas Deceptive Trade - Consumer Protection Act (“TDTCPA?’) prohibits “[f] alse,
misleading, or deceptive acts or practices in the conduct of any trade or commerce are hereby
declared unlawful,” Tex. Bus. & Com. Code § l?.46(a); TDTCPA. states that false, misleading, or
deceptive acts or practices includes “representing that goods or services have sponsorship,
approval, characteristics ingredients uses benefits or quantities which they do not have or that a
person has a sponsorship, approval, status affiliation, or connection which he does not.” Tex. Bus.
& Com. Code § 17.46(b)(5). l l

312. As detailed above, in the course of their business Defendants engaged in unfair,
` unconscionable and deceptive acts or practices in violation of the above-noted provisions of
TDT-CPA by perpetuating the fraudulent Warner Chilcott scheme as described herein. -

313. Defendants owed and continue to owe Plaintiffs a duty to refrain from the above-

described unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme

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described herein

314. Defendants knew or should have known that their conduct was in violation of
TDTCPA'.

315q Despite knowing the true nature of their products and practices for years
Defendants intentionally and/ or knowingly omitted and/ or misrepresented material facts regarding
the Warner Chilcott scheme described herein, with the intent to mislead regulators and Plaintiffs’
Assignors land continued to engage in unfair and deceptive practices in violation of TDTCPA.

316. Defendants’ unfair and deceptive acts or practices omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,
deceive regulators and reasonable consumers including Plaintiffs"` Assignors.

317. Defendants" material misrepresentations proximately caused Plaintiffs’ Assignors

to pay for the Warner Chilcott products when they otherwise would not have paid for the products

Because Defendants did not reveal the true nature of the Warner Chilcott scheme as described - _

herein until this lawsuitlwas filed, the statute of limitation for filing claims against Defendants
under the TDTCPA did not begin to accrue until the filing of this lawsuit Defendants either
concealed or failed to reveal the facts until this filing.

318. Plaintiffs suffered injury-in-fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/or
misrepresentations at a minimum, in the form of providing payment for the Warner Chilcott
products as described herein.

319. Defendants’ violations present a continuing risk to Plaintiffs as well as to the
general public. `As such, Defendants’ unlawful acts and practices complained of herein affect the

public interest

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320. Defendants actions have caused the submission of fraudulent claims as evidenced
in Plaintiffs’ Exhibit B, attached heretov Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).

321. Plaintiffs are entitled to'recover their actual damages under Tex. Bus. &: Com. Code
§ l'7.50(b)(l) and attorneys"` fees|under ex. Busa & Com. Code § l7.50(b)(4)(d).

322. Plaintiffs also seeks an order enjoining Defendants’ unfair, unlawful, and/or
deceptive practices declaratory relief, attorneys’ fees and any other just and proper relief available
under the TDTCPA.

North Carolina Unfair and Deceptive Trade Practices A.ct
(N.C. Gen. Stata § 75~1.1)

323. Defendants are engaged in “commerce” within the meaning of N.C. Gen. Stat. §
75-1.1 during all relevant periods by, at a minimum, advertising, offering for sale, and selling the
Warner Chilcott products described herein in North Carolina, to Plaintiffs and throughout the 7
United States

324. Defendants actions included providing kickbacks to prescribing physicians located
in the State of North Carolina, causing health insurers to suffer losses in the state that would have
not happened but for Defendants various schemes to defraud.

325. North Carolina Unfair and Deceptive Trade Practices Act (“NCUDTPA”) prohibits
[u]nfair methods of competition, unconscionable acts or practices and unfair or deceptive acts or
practices in the. conduct of any trade or commerce...” N.C. Gen. Stat. § 75-1.1.

326. As detailed above, in the course of their business Defendants engaged in unfair,
unconscionable and deceptive acts or practices in violation of the above-noted provisions of
NCUDTPA by perpetuating the fraudulent Warner Chilcott scheme as described hierein.

327. Defendants owed and continue to owe Plaintiffs a duty to refrain from the above-

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described unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme
_ described herein,

328 Defendants knew or should have known that their conduct was in violation of
NCUDTPA.

l329. Despite knowing the true nature of their products and practices for years
Defendants intentionally and/ or knowingly omitted and/or misrepresented material facts regarding
the Warner Chilcott scheme described herein, with the intent to mislead regulators and Plaintiffs’
Assignors and continued to engage in unfair and deceptive practices in violation of NCUDTPA,

330. Defendants” unfair and deceptive acts or practices omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely ton and/or did, in fact,
deceive regulators and reasonable consumers including Plaintiffs’ Assignors.

331. Defendants’ materialmisrepresentations proximately caused Plaintiffs’ Assignors
to pay for the Warner Chilcott products when they otherwise would not have paid for the products
Because Defendants did not reveal the true nature of the Warner Chilcott scheme as described
herein until this lawsuit was filed, the statute of limitation for filing claims against Defendants
under the NCUDTPA did not begin to accrue until the filing of this lawsuit Defendants either
concealed or failed to reveal the facts until this filing. "

332. Plaintiffs suffered injury-in»fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/or
misrepresentations at a minimum, in the form of providing payment for the Warner Chilcott
products as described herein.

333. Defendants’ violations present a continuing'risk to Plaintiffs as well as to the

general public. As such, Defendants’ unlawful acts and practices complained of herein affect the

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public interest

334. Defendants actions have caused the submission of fraudulent claims as evidenced
in Plaintiffs“ Exhibit B, attached hereto. Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).

335. l Plaintiffs are entitled to recover their actual damages under N.C. Gen. Stat. § 75»~
l6 and attorneys’ fees under N.C. Gen. Stat. § 75-16.1.

336. l Plaintiffs also seeks an l order enjoining Defendants’ unfair, unlawful, and/or
deceptive practices declaratory relief, attorneys’ fees and any other just and proper relief available
under the NCUDTPA

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' 337. Defendants are engaged in ‘_‘trade or commerce” within the meaning of W.V. Code
§ 46A-6-102(6) during all relevant periods by, at a minimum, advertising, offering for sale, and
selling the Warner Chilcott products described herein in West Virginia, to Plaintiffs, and
throughout the United States
338. Defendants actions included providing kickbacks to prescribing physicians located
in the State of West Virginia, causing health insurers to suffer losses in the state that would have l
not happened but for Defendants various schemes to defraud
3 39. West Virginia General Consumer Protection Act (“WVGCPA”) prohibits [u]nfair
methods of competition and unfair or deceptive acts or practices in the conduct of any trade or
commerce,” W.V. Code § 46A-6-l04; including “[r]epresenting that goods or services have
sponsorship, approval, characteristics ingredients uses benefits or quantities that they do not have
or that a person has a sponsorship, approval, status affiliation or connection that he does not have,”

and “[t]he act, use or employment by any person of' any deception, fraud, false pretense, false

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promise or misrepresentation, or the concealment, suppression or omission of any material fact
with intent that others rely upon such concealment, suppression or omission`, in connection with
the sale or advertisement of any goods or services whether or not any person has in fact been
misled, deceived or damaged thereby.” W.`V. Code § 46A~6-102,(7)(E) and (l\/l). l

340. As detailed above, in the course of their business Defendants engaged in unfair5
unconscionable and deceptive acts or practices in violation of the above-noted provisions of
`WVGCPA by perpetuating the fraudulent Warner Chilcott scheme as described herein.

341. Defendants owed and continue to owe Plaintiffs a duty to refrain from the above-
described unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme
described herein.

342. Defendants knew or should have known that their conduct Was in violation of
WVGCPA.

343. Despite knowing the true nature of their products and practices for years
Defendants intentionally and/or knowingly omitted and/or misrepresented material facts regarding
the Warner Chilcott scheme described herein, with the intent to mislead regulators and Plaintiffs’
Assignors and continued to engage in unfair and deceptive practices in violation of WVGCPA.

344. Defendants’ unfair and deceptive acts or practices omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did,_ in fact,
deceive regulators and reasonable consumers including Plaintiffs’ Assignors. l

345. Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors
to pay for the Warner Chilcott products when they otherwise would not have paid for the products
Because Defendants did not reveal the true nature of the Warner Chilcott scheme as described

herein until this lawsuit was filed, the statute of limitation for filing claims against Defendants

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under the W`VGCPA did not begin to-accrue until the filing of this lawsuit Defendants either
concealed or failed to reveal the facts until this filing

346. Plaintiffs suffered injury-in»fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/or
misrepresentations at a minimum, in the form of providing payment for the Warner Chilcott
products as described herein

347. Defendants’ violations present a continuing risk to Plaintiffs as well as to the
general public. As such, Defendants’ unlawful acts and practices complained of herein affect the
public interest n

348 Defendants actions have caused the submission of fraudulent claims as evidenced
in Plaintiffs’ Exhibit B, attached hereto. Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).

349. Plaintiffs are entitled to recover their actual damages under W.V. Code § 46A-6»-
106.

350. Plaintiffs also seeks an order enjoining Defendants’ unfair, unlawful, and/or
deceptive practices declaratory relief, attorneys’ fees and any other just and proper relief available
under the WVGCPA.

NEW YORK CONSUMER PROTECTION FROM DECEPTIVE ACTS AND
PRACTICES ACT
GEN. BUS. § 349

351. Defendants are engaged in the conduct of any business trade or commerce as
delineated within Gen. Bus. § 349 during all relevant periods by, at a minimum_advertising,
offering for sale, and selling the Warner Chilcott products described herein in New York, to

Plaintiffs and throughout the United States.

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352. Defendants actions included providing kickbacks to prescribing physicians located
in the State of New York, causing health insurers to suffer losses in the state that would have not
happened but for Defendants various schemes to defraud

353. l\lew York’s Consumer Protection Prorn Deceptive Acts and Practices Law
(“NYCPL"’) prohibits “[d]eceptive acts or practices in the conduct of any business trade or
commerce or in the finnishing of any service’5 Gen. Bus. § 349

354. As detailed above, in the course of their business Defendants engaged in unfair,
unconscionable and deceptive acts or practices in violation of the above-»-noted provisions of
NYCPL by perpetuating the fraudulent Warner Chilcott scheme as described herein.

355. Defendants owed and continue to owe Plaintiffs a duty to refrain from the above-
described unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme
described herein

356. Defendants knew or should have known that their conduct was in violation of
NYCPL.

357. Despite knowing the true nature of their products and practices for years
Defendants intentionally andjor knowingly omitted and/ or misrepresented material facts regarding
the Warner Chilcott scheme described herein, with the intent to mislead regulators and Plaintiffs’
Assignors, and continued to engage in unfair and deceptive practices in violation of NYCPL.

358. Defendants’ unfair and deceptive acts or practices omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,
deceive regulators and reasonable consumers including Plaintiffs’ Assignors.

359. Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors

to pay for the Warner Chilcott products when they otherwise would not have paid for the products

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Because Defendants did not reveal the true nature of the Warner Chilcott scheme as described
herein until this lawsuit was filed, the statute of limitation for filing claims against Defendants
under the NYCPL did not begin to accrue until the filing of this lawsuit Defendants either
concealed or failed to reveal the facts until this filing
360. Plaintiffs suffered injury-in»fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/or
misrepresentations at a minimum, in the form of providing payment for the Warner Chilcott
products as described herein.
361. Defendants’ violations present a continuing risk to Plaintiffs as well as to the
` general public. As such, Defendants’ unlawful acts and practices complained of herein affect the
public interest
362. Defendants actions have caused the submission of fraudulent claims as evidenced
in Plaintiffs’ Exhibit 13, attached hereto. Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).
363. Plaintiffs are entitled to recover their actual damages and attorneys’ fees under Gen.
Bus. § 349(11).
364. Plaintiffs also seeks an order enjoining Defendants’ unfair, unlawful, and/or
deceptive practices declaratory relief, attorneys fees and any other just and proper relief available
under the NYCPL.

MASSACHUSETTS CONSUMER PROTECTION ACT
(MASS. GEN. LAWS CH. 93A)

365. Defendants are engaged in “trade or commerce” within the meaning of l\/lass. Gen.

Laws ch. 93A, § l(b) during all relevant periods by,, at a minimum, advertising, offering for sale,

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and selling the Warner Chilcott products described herein in Massachusetts to Plaintiffs and
throughout the United States

366l Defendants actions included providing_kickbacks to prescribing physicians located
in the State of l\/lassachusetts causing health insurers to suffer losses in the state that would have
not happened but for Defendants various schemes to defraud

367. l\/lassachusetts Consumer Protection Act (“l\/lCl)A”) prohibits “[u]nfair methods of
competition and unfair or deceptive acts or practices in the conduct of any trade or commerce are
hereby declared unlawful.” l\/lass. Gen. Laws ch. 93A, § Z(a).

368. As detailed above, in the course of their business Defendants'engaged in unfair,
unconscionable and deceptive acts or practices in violation of the above-noted provisions of
l\/ICPA by perpetuating the fraudulent Warner Chilcott scheme as described herein.

-' 369. Defendants owed and continue to owe Plaintiffs a duty to refrain from the above-
described`unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme
described herein.

370. Defendants knew or should have known that their conduct was in violation of
MCPA.

371. Despite knowing the true nature of their products and practices for years
Defendants intentionally and/or knowingly omitted and/or misrepresented material facts regarding
the Warner Chilcott scheme described herein, with the intent to mislead regulators and Plaintiffs’
Assignors and continued to engage in unfair and deceptive practices in violation of l\/lCPA.

3?2. Defendants’ unfair and deceptive acts or practices omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,

deceive regulators and reasonable consumers including Plaintiffs’ Assignors.

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373. Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors
to pay for the Warner Chilcott products when they otherwise would not have paid for the products
Because Defendants did not reveal the true nature of the Warner Chilcott scheme as described
herein until this lawsuit was filed, the statute of limitation for filing claims against Defendants
under the l\/lCPA did not begin to accrue until the filing of this lawsuit Defendants either concealed
or failed to reveal the facts until this filing, l

374. Plaintiffs suffered injury-in-fact, ascertainable loss and actual damages as a direct g
and proximate result of Defendants" unfair and deceptive practices and omissions and/or _
misrepresentations at a minimum, in the form of providing payment for the Warner Chilcott
products as described herein. l

375. Defendants’ violations present a continuing risk to Plaintiffs as well as to the
general public. As such, Defendants’ unlawful acts and practices complained of herein affect the
public interest

376. Defendants actions have caused the submission of fraudulent claims as evidenced
in Plaintiffs’ Exhibit B, attached hereto. Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).

377. Plaintiffs are entitled to recover their actual damages and attorneys’ fees under
Mass. Gen. Laws ch. 93A, § 9(3A).

378. Plaintiffs also seeks an order enjoining Defendants’ unfair, unlawful, and/or
deceptive practices declaratory relief, attorneys’ fees and any other just and proper relief available
under the MCPA. l

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(an. Conr: § 24-5)

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379n Defendants are engaged in “consumer transactions” within the meaning of lnd,
Code § 24-»5»015-2 during all relevant periods by at a minimum, advertising, offering for sale, and
selling the Warner Chilcott products described herein in lndiana, to Plaintiffs and throughout the
United States.

380. Defendants actions included providing kickbacks to prescribing physicians located
in the State of lndiana, causing health insurers to suffer losses in the state that would have not
happened but for Defendants various schemes to defraud

381. lndiana Deceptive Consurner sales (“lDCS”) prohibits “unfair, abusive, or
deceptive act, omission, or practice in connection with a consumer transaction,” lnd. Code § 24-
5~0.5-3(a); these acts include "‘such subject of a consumer transaction has sponsorship, approval,
performance, characteristics accessories uses or benefits it does not have which the supplier
knows or should reasonably know it does not have.” lnd. Code § 24-5-0.5-3.®)(1). -

382. As detailed above, in the course of their business,'Defendants engaged in unfair,
unconscionable and deceptive acts or practices in violation of the above*noted provisions of IDCS
by perpetuating the fraudulent Warner Chilcott scheme as described herein.

383. Defendants owed and continue to owe Plaintiffs a duty to refrain from the above-»
described unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme
described herein `

384. Defendants knew or should have known that their conduct was in violation of
lDCS.

385. Despite knowing the true nature of their products and practices for years
Defendants intentionally and/or knowingly omitted and/or misrepresented material facts regarding

the War_ner Chilcott scheme described herein, with the intent to mislead regulators and Plaintiffs’

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Assignors, and continued to engage in unfair and deceptive practices in violation of lDCS..

386. Defendants’ unfair and deceptive acts or practices, omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in factj
deceive regulators and reasonable consumers, including Plaintiffs5 Assignors.

387. Defendants’ material misrepresentations proximately caused Plaintiffs5 Assignors
to pay for the Warner Chilcott products when they otherwise would not have paid for the products
Because Defendants did not reveal the true nature of the Warner Chilcott scheme as described
herein until this lawsuit was filed, the statute of limitation for filing claims against Defendants
under the IDCS did not begin to accrue until the filing of this lawsuit Defendants either concealed
or failed to reveal the facts until this filing.

388. Plaintiffs suffered injury-in-fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/or
misrepresentations, at a minimum, in the form of providing payment for the Warner Chilcott
products as described herein.

389. Defendants’ violations present a continuing risk to Plaintiffs as well as to the .
general public. As such, Defendants’ unlawful acts and practices complained of herein affect the
public interest

390. Defendants actions have caused the submission of fraudulent claims, as evidenced
l in Plaintiffs’ Exhibit B, attached hereto. Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).

391. Plaintiffs are entitled to recover their actual damages under lnd. Code § 24-5-0.5~
4(a) and attorneys’ fees under lnd. Code § 24-5~0.'5-4(b).

392. Plaintiffs also seeks an order enjoining Defendants’ `unfair, unlawful, and/or

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deceptive practices, declaratory relief, attorneys’ fees, and any otherjust and proper relief available
under the IDCS.

FL()RU)A DECPTIVE AND UNFAIR TRADE PRACTICES AC'§`
(Fla. Stat. § 501.20§., et seq.}

393. Defendants are engaged in “trade or commerce” within the meaning of Fla. Stat. §
501 .203(8) during all relevant periods by, at a minimum, advertising, offering for sale, and selling
the Warner Chilcott products described herein in Florida, to Plaintiffs, and throughout the United
States.

394. Defendants actions included providing kickbacks to prescribing physicians located
in the State of Florida, causing health insurers to suffer losses in the state that would have not
happened but for Defendants various schemes to defraud.

395. Florida Deceptive Unfair Trade Practices Act (“FDUTPA”) prohibits “[u]nfair
methods of competition, unconscionable acts or practices, and unfair or deceptive acts or practices
in the conduct of any trade or commerce...” Fla. Stat. § 501 .204(1).

396. As detailed above, in the course of their business, Defendants engaged in unfair, '
unconscionable and deceptive acts or practices in violation of the above-noted provisions of
1r`DUTPA by perpetuating the fraudulent Wa_rner Chilcott scheme as described herein.

397. Defendants owed and continue to owe Plaintiffs a duty to refrain from the above-
described unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme
described herein.

398. Defendants knew or should have known that their conduct was in violation of
FDUTPA. l

399. Despite knowing the true nature of their products and practices for years,

Defendants intentionally and/or knowingly omitted and/ or misrepresented material facts regarding

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the Warner Chilcott scheme described herein, with the intent to mislead regulators, and Plaintiffs”
Assignors, and continued to engage in unfair and deceptive practices in- violation of lE`DUTPAq

400. Defendants" unfair and deceptive n acts or practices, omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,
deceive regulators and reasonable consumersJ including Plaintiffs’ Assignors.

401. Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors
to pay for the Warner Chilcott products when they otherwise would not have paid for the products
Because Defendants did not reveal the true nature of the Warner Chilcott scheme as described
herein until this lawsuit was filed, the statute of limitation for filing claims against Defendants
under the FDUTPA did not begin to accrue until the filing of this lawsuit. lDefendants either
concealed or failed to reveal the facts until this tiling.

402. Plaintiffs suffered injury-in-fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/or
misrepresentations, at a minimum,in the form of providing payment for the Warner Chilcott
products as described herein.

403. Defendants’ violations present a continuing risk to Plaintiffs as well as to the
general public. As such, Defendants’ unlawful acts and practices complained of herein affect the
public interestl

404. Defendants actions have caused the submission of fraudulent claims, as evidenced v
in Plaintiffs’ Exhibit B, attached hereto. Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).

405. Plaintiffs are entitled to recover their actual damages under Fla. Stat. § 501 .21 1(2)

and attorneys’ fees under Fla. Stat. § 501.2105(1).

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406. Plaintiffs also seeks an order enjoining Defendants’ unfair, unlawful, and/or
deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief available
under the FDUTPA.

MINNESOTA PREVENTION OF CONSUMER FRAUD ACT

nunn stato § szsr.,ss, et Seq.)

407. The Warner Chilcott products described herein constitute “merchandise”_within the
meaning of l\/[inn. Stat. § 325F.68(2).

408. Defendants caused their products to be sold in interstate commerce, including in
the State of Minnesota.

409. Defendants actions included providing kickbacks to prescribing physicians located
in the State of Minnesota, causing health insurers to suffer losses in the state that would have not
happened but for Defendants various schemes to defraud l

410. The Minnesota Prevention of Consurner Fraud Act (“Minnesota CFA”) prohibits
“[t]he act, use, or employment by any person of any fraud, false pretense, false promise,
misrepresentation, misleading statement or deceptive practice, with the intent that others rely
thereon in connection with the sale of any merchandise, whether or not any person has in fact been-
misled, deceived, or damaged thereby ....” l\/linn. Stat. § 325F.69(l).

411. As detailed above, Defendants engaged in deceptive acts in violation of the
Minnesota CFA by perpetuating the Warner Chilcott scheme as described herein.

412. Defendants owed and continue to owe Plaintiffs’ Assignors a duty to refrain from
the above-described unfair and deceptive practices and disclose the true nature of the Warner
Chilcott scheme described herein

413. Defendants knew or should have known that their conduct was in violation of the

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l\/linnesota CFA.

414. Despite knowing the true nature of their scheme for years Defendants intentionally
and/or knowingly omitted and/or misrepresented material facts regarding the scheme of the
Warner Chilcott products described herein, with the intent to mislead regulators and Plaintiffsa
Assignors, and continued to engage in unfair and deceptive practices in violation of the l\/linnesota
CFA.

415. Defendants"` unfair and deceptive ‘ acts or practices omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,
deceive regulators and reasonable consumers including Plaintiffs’ Assignors.

416. Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors
to pay supracompetitive prices for the-Warner Chilcott products when they otherwise Would not
have paid increased prices as set forth herein. Because Defendants did not reveal the true nature
of the Warner Chilcott scheme as described herein until this lawsuit was filed, the statute of
limitation for filing claims against Defendants under the l\/linnesota CFA did not begin to accrue
until the filing of this lawsuit. Defendants either concealed or failed to reveal the facts until this
filing.

417. Plaintiffs suffered injury-in»fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/or
misrepresentations at a minimum, in the form of supracompetitive prices of the Warner Chilcott
products as described herein.

418. Defendants’ violations present a continuing risk to Plaintiffs as well as to the
general public. As such, Defendants’ unlawful acts and practices complained of herein affect the

public interest. Pursuant to Minn. Stat. § 8.31(3)(a), Plaintiffs seek actual damages attorneys’ fees

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and any other just and proper relief available under the l\/linnesota CFAl

419. Defendants actions have caused the submission of fraudulent claims as evidenced
in Plaintiffs’ Exhibit B, attached hereto. Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).

420. Plaintiffs also seek punitive damages under l\/linn. Stat. § 549.20(1)(a) given the
clear and convincing evidence that Defendants’ acts show deliberate disregard for the rights or
safety of othels

MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES ACT
(Minn. Stat § 325(1. 43- 48 et seq)

421. The Minnesota Deceptive Trade Practices Act (“l\/linnesota DTPA°’) prohibits
deceptive trade practices including the following enumerated actions “(11) makes false or
misleading statements of fact concerning the reasons for, existence of, or amounts of price
reductions;” or “ (13_) engages in any other conduct which similarly creates a likelihood of
confusion or of misunderstanding.” Minn. Stat. § 325D.44.

422. _ lDefendants caused their products to be sold in interstate commerce, including in
the State of l\/linnesota. n

423. Defendants actions included providing kickbacks to prescribing physicians located
in the State of Minnesota, causing health insurers to suffer losses in the state that would have not
happened but for Defendants various schemes to defraud

424. As detailed above, Defendants engaged in misleading, false and deceptive acts in
violation of the above-noted provisions of the l\/linnesota DTPA by perpetuating the Warner
Chilcott scheme as described herein.

425. Defendants owed and continue to owe Plaintiffs a duty to refrain from the above-

described unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme

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as described herein,

-426. Defendants knew or should have known that their conduct was in violation of the
Minnesota DTPA.

421 Despite knowing the true nature of their scheme for years Defendants intentionally
and/or knowingly omitted and/or misrepresented material facts regarding the scheme of the
Warner Chilcott products described herein, with the intent to mislead regulators and Plaintiffs’- n
Assignors and continued to engage in unfair and deceptive practices in violation of the l\/linnesota
DTPA.

428. Defendants’ unfair and deceptive acts or practices omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,
deceive regulators and reasonable consumers including Plaintiffs’ Assignors.

429. Defendants’ material misrepresentations proximately caused Plaintiffs to pay
supracompetitive prices for the Warner Chilcott products when they otherwise would not have
paid increased amounts Because Defendants did not reveal the true nature of the Warner Chilcott
scheme as described herein until this lawsuit was filed, the statute of limitation for filing claims
against Defendants under the Minnesota DTPA did not begin to accrue until the filing of this l
lawsuit Defendants either concealed or failed to reveal the facts until this filing. l

430. Plaintiffs suffered injury-in»fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/or
misrepresentations at a minimum, in the form of increased prices of the Warner Chilcott products
as described herein. l

431. Defendants’ violations present a continuing risk to Plaintiffs as well as to the

general public. As such, Defendants’ unlawful acts and practices complained of herein affect the

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public interest

432. Defendants actions have caused the submission of fraudulent claims as evidenced
in Plaintiffs’ Exhibit B, attached hereto. Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).

433. Pursuant to h/linn. Stat. § 8.31(3a) and 325}),45, Plaintiffs seek actual damages
attorneys’ fees and any other just and proper relief available under the l\/linnesota DTPA.

434. Plaintiffs also seek punitive damages under lvlinnl Stat. § 549.20(1)(a) give the clear
and convincing evidence that Defendants’ acts show deliberate disregard for the rights or safety of
others 7

THE NEW JERSEY CONSUMER FRAUD ACT
(N.J. Stat., Ann. §§ 56:8-1, et Seq.)

435. Plaintiffs and Defendants are persons under the New Jersey Consumer Fraud Act,
N.J. Stat. § 56:8-1(d).

n 436. Defendants caused their products to be sold in interstate commerce, including in
the State of New Jersey.

431 Defendants actions included providing kickbacks to prescribing physicians located
in the State of New Jersey, causing health insurers to suffer losses in the state that would have not
happened but for Defendants various schemes to defraud

438. Defendants are engaged in “sales” of “merchandise” within the meaning of N.J.
Stat. § 56:8-1(0), (e).

439. Defendants’ actions as set forth herein occurred in the conduct of trade or
g commerce within the meaning of the New Jersey Consumer Fraud Act.

440. The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he

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act, use or employment by any person of any unconscionable commercial practice, deception,
fraud, false pretense, false promise, misrepresentation, or the knowing concealment suppression,
or omission of any material fact with the intent that others rely upon such concealment, suppression
or omission, in connection with the sale or advertisement of any merchandise or real estate, or with
the subsequent performance of such person as aforesaid, whether or not any person has in fact been
misled, deceived or damaged thereby . . . q” N..l. Stat. § 56:8-2.

441. ln the course of their business Defendants engaged in unfair and deceptive
practices in violation of the New Jersey CFA by perpetuating the Warner Chilcott scheme as
described herein.

442. Defendants owed and continue to owe Plaintiffs a duty to refrain from the above»
described unfair and deceptive practices and disclose the true nature of the Warner Chilcott scheme
as described herein.

443. Defendants knew or should have known that their conduct was in violation of the
New Jer_sey CFA.

444. Despite knowing the true nature of their scheme for years Defendants intentionally
and/or knowingly omitted and/or misrepresented material facts regarding the supracompetitive
prices of the Warner Chilcott products described herein, with the-intent to mislead regulators and
Plaintiffs’ Assignors and continued_to engage in unfair and deceptive practices in violation of the
New Jersey CFA.

445. Defendants’ unfair and deceptive acts or practices omissions and
misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,
deceive regulators and reasonable consumers including Plaintiffs’ Assignors.

446. Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors

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to pay supracompetitive prices for the Warner Chilcott products when they otherwise would not
have paid inflated prices Because Defendants did not reveal the true nature of the Warner Chilcott
scheme as described herein until this lawsuit was filed, the statute of limitation for filing claims
against Defendants under the New Jersey CFA did not begin to accrue until the filing of this
lawsuit Defendants either concealed or failed to reveal the facts until this filing

447. Plaintiffs suffered injury-in-fact, ascertainable loss and actual damages as a direct
and proximate result of Defendants’ unfair and deceptive practices and omissions and/ or
misrepresentations at a minimum, in the form of increased prices of the Warner Chilcott products
as described herein.

448. Defendants actions have caused the submission of fraudulent claims as evidenced
in Plaintiffs’ Exhibit B, attached hereto. Each line of the exhibit give the particulars relevant to the
requirements of Rule 9(b).

449. As a result of the foregoing wrongful conduct of Defendants Plaintiffs have been
damaged in an amount to be proven at trial, and seek all just and proper remedies including, but
not limited to, actual and statutory damages treble damages an order enjoining Defendants’
deceptive and unfair conduct, costs and reasonable attorneys’ fees under N.J. Stat. § 56:8-19, and
all other just and appropriate relief.

COUNT 111
COMMON LAW FRAUD

450. Plaintiffs re-allege and incorporate herein by reference each of the
allegations contained in the preceding paragraphs of this amended complaint

451. As alleged extensively above, Defendants affirmatively misrepresented and/or

concealed and suppressed material facts concerning the following'. (a) The true cost and/or price

of the Warner Chilcott products described herein; (b) The inflated and/or fraudulent nature of the

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list price(s) set and/or charged by Defendants for the Warner Chilcott products described herein;
(c) -The existence, amount, and/or purpose(s) of discounts and/or rebates offered and/or negotiated
by Defendants for those products and (d) The role that Defendants’ played in the price paid for
the-Warner Chilcott products described herein, including but not limited to marketing material
averring that Defendants decrease the price of prescription drugs for consumers

452 Defendants valued their profits over the trust, health, and safety of Plaintiffs’
beneficiaries and the other Class l and 2 l\/[embers who purchased Warner Chilcott products
throughout the United States

453. Necessarily, Defendants took steps to ensure that their employees and coa
conspirators did not reveal the details of the Warner Chilcott Scheme to consumers including
Plaintiffs

454. Defendants" knowingly false representations and omissions were material to
Plaintiffs

455. Plaintiffs reasonably relied on Defendants’ deception, and Defendants intended that
they would rely on their misrepresentations n

45_6.' Plaintiffs had no way of discerning that Defendants were, in fact, deceiving them
because they possessed exclusive knowledge regarding the nature of Warner Chilcott scheme,
intentionally concealed the foregoing from Plaintiffs and the public, and made incomplete or
negligent representations about the Wamer Chilcott products and the Defendants role 1n the
schemes while purposefully withholding material facts from Plaintiffs and the other Class l and 2
Membersthat contradicted these representations

457.` Defendants’ actions representations and misrepresentations demonstrate callous

disregard for not only the rule of law but also public health.

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458 Defendants owed Plaintiffs a duty to disclose, truthfully, all the facts concerning

the scheme of the Warner Chilcott products described herein and the inflated and fraudulent nature
_ of their sales practices and the role that Defendants played in increasing the sale of the Warner
Chilcott products described herein.

459. Defendants hatched their deceptive schemes and knew that their customers
including Plaintiffs did not know about (and could not reasonably discover) the manner in which
Wariier' Chilcott’s schemes increased their products sales

460. Defendants not only concealed all the facts concerning the scheme of selling
Warner Chilcott products described herein, but went further to make affirmative
misrepresentations in marketing materials and other communications that Defendants worked to
increase the sales o_f Warner Chilcott products

461. Defendants engaged in this fraudulent concealment at the expense of Plaintiffs and
the other Class 1 and 2 Members making such material misrepresentations in order to induce
Plaintiffs and the other Class l and 2 Members to rely on such misrepresentations to their
detriment

462. Plaintiffs and the other Class 1 and 2 l\/lembers were not aware of the concealed
and misrepresented material facts referenced above,- and they reasonably relied on Defendants’
representations

463. Plaintiffs Assignors and members of the class would not have paid for Warner
Chilcott products as they did had they known the true nature of Warner Chilcott’s scheme

464. As a direct and proximate result of Defendants’ fraudulent scheme, Plaintiffs
sustained damages including but not limited to paying excessive and inflated prices for the Warner

Chilcott products described herein.

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465. Defendants are liable to Plaintiffs for damages in an amount to be proven at trial.

466. MoreoverJ because Defendants acted wantonly, maliciously, oppressively,
recklessly9 deliberately, and with intent to defraud Plaintiffs for the purpose of enriching
themselves at Plaintiffs’ detriment Defendants’ conduct warrants substantial punitive and
exemplary damages in an amount to be determined at trial,

COUNT IV
UNJUST ENRICHMENT

467. Plaintiffs re-allege and incorporate by reference each of the allegations contained
in the preceding paragraphs of this complaint

468. Defendants have benefitted from selling, setting prices for and taking part of the
illegal scheme for Warner Chilcott products l

469. Defendants have received and retained unjust benefits from the Plaintiffs in the
‘ form of costs paid, copayments and coinsurance payments and inequity has resulted

470. lt is inequitable and unconscionable for Defendants to retain these benefits

l 471. Because Defendants concealed their fraud and deception, Plaintiffs were not aware

of the true facts concerning the Warner Chilcott scheme described herein and did not benefit from
Defendants’ misconduct

472. Defendants knowingly accepted the unjust benefits of its fraudulent conduct

473. As a result of Defendants’ misconduct, the amount of their unjust enrichment
should be disgorged and returned to Plaintiffs in an amount to be proven at trial.

DEMANI) ron JUDGMENT
WHEREFORE, Plaintiffs respectfully demands that this Court:

A. Enter judgments against Defendants and in favor of Plaintiffs for violations of the

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federal and state laws and legal standards invoked herein;

B. Award preliminary and permanent injunctive and other equitable relief as is
necessary to protect the interests of Plaintiffs including, inter alia, an order prohibiting Defendants
from engaging in the unlawful acts described aboveq

C. Order Defendants to pay prejudgment and post-judgment interest as provided for
by law or allowed in equity;

D. Award the Plaintiffs damages (i.e. three times overcharges) in an amount to be
determined at trial;

E. Award Plaintiffs its costs of suit, including reasonable attomeys" fees as provided
by law, including under RICO, the common fund doctrine, and applicable state law;

F. (lrder that Defendants must notify each individual who paid a copayment or
coinsurance for covered prescription drugs that in relation to the pendency of this action so that
they may obtain relief from Defendants for their harm', and

G._ Award such further and additional relief as the case may require and the Court may
deem justland proper under the circumstances

JURY DEMAND
474. Pursuant to Fed. R. Civ. P. 38, Plaintiffs demands a trial by jury on all issues so

triable.

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minimis
Assignrnents to Plaintiffs

Al. On 6/l9/201'7, Fallon Cornrnunity Health Plan, lncq entered into an assignment with
l\/lSP Recovery LLC. Said assignment included the following language “[c]lient hereby
irrevocably assigns transfers conveys sets over and delivers to MSP Recovery, and any of its
successors and assigns any and all of Client's right, title, ownership and interest in and to all
Claims existing on the date hereof, whether based in contract, tort, statutory rightj and any and all
rights (including, but not limited to, subrogation) to pursue and/or recover monies for Client that
Client had, may have had, or has asserted against any party in connection with the Claims and all
_ rights and claims against primary payers and/or third parties that may be liable to client arising
from or relating to the Claims including claims under consumer protection statutes and laws and
all information relating thereto, all of which shall constitute the "Assigned Claims”.” The
assignment contract was executed by individuals of majority, of sound mind, and with legal
authority to bind the respective parties The assignment was entered into under l\/lassachusetts
law. On 6/20/2017, MSP Rec_overy, LLC entered into an assignment with MSP Recovery Claims
Series LLC, irrevocably assigning its right to recover payments as assigned from Fallon
Community Health Plan, lnc. This assignment was made pursuant to the Series 17-04-631
assignment This second assignment contract was executed by individuals of majority, of sound
mind, and with legal authority to bind the respective parties This second assignment was entered
into under Delaware law. Consideration was given between each party in executing these
assignments

A2. On 5/12/201'7, SumrnaCareJ lnc. entered into an assignment with l\/ISP Recovery,
LLC. Said assignment included the following language “[c]lient hereby irrevocably assigns

transfers conveys sets over and delivers to MSP Recovery, and any of its successors and assigns

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any and all of Client's right title, ownership and interest in and to all Clairns existing on the date
hereof, whether based in contract,l tort, statutory right, and any and all rights (including, but not
limited to, subrogation) to pursue and/or recover monies for Client that Client had, may have had,
or has asserted against any party in connection with the Claims and all rights and claims against
primary payers and/or third parties that may be liable to client arising from or relating to the
Claims including claims under consumer protection statutes and laws and all information relating
thereto, all of which shall constitute the "Assigned Claims"’.” The assignment contract was
executed by individuals of maj ority, of sound mind, and with legal authority to bind the respective
parties The assignment was entered into under Ohio law, On 6/12/2017, MSP Recoveryj LLC
entered into an assignment with l\/lSl? Recovery Claims, Series LLC, irrevocably assigning its right
to recover payments as assigned from SummaCare, lnc-. This assignment was made pursuant to
the Series 16-11~509 assignment This second assignment contract -was executed by individuals
of majority, of sound mind, and with legal authority to bind the respective parties Thissecond
assignment was entered into under Delaware law. Consideration was given between each party in
executing these assignments

A3. On l2/ 16/2014, lnteramerican l\/ledical Center Group, LLC' (ll\/[C) entered into an
assignment with MSP Recovery, LLC. Said assignment included the following language “[c}lient
hereby irrevocably assigns transfers conveys sets over and delivers to l\/ISP Recovery, and any
of its successors and assigns any and all of Client's right, title, ownership and interest in and to all
Claims existing on the date hereof, whether based in contract, tort, statutory right, and any and all
rights (including, but net limited to, subrogation) to pursue and/or recover monies for Client that
Client had, may have had, or has asserted against any party in connection with the Claims and all

rights and claims against primary payers and/or third parties that may be liable to client arising

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from or relating to the Claims including claims under consumer protection statutes and laws and
all information relating thereto all of which shall constitute the "Assigned Clairns"".” The
assignment contract was executed by individuals of majority, of sound mind, and with legal
authority to bind the respective parties The assignment was entered into under Florida law. On
2/20/2015, MSP Recovery, LLC entered into an assignment with l\/ISPA Claims 1., LLC,
irrevocably assigning its right to recover payments as assigned from lnteramerican Medical
Center Group, LLC (ll\/lC).’" This second assignment contract was executed by individuals of
majority, of sound mind, and with legal authority to bind the respective parties This second
assignment was entered into under Florida law. Consideration was given between each party in
executing these assignments

A4. On- 5/3/2016, Preferred l\/ledical PlanJ lnc. entered into an assignment with MSP
Recovery LLC. Said assignment included the following language “[c]lient hereby irrevocably
assigns transfers conveys sets over and delivers to l\/ISP Recovery, and any of its successors and
assigns any and all of Client's right, title, ownership and interest in and all rights and claims against
primary payers and/or third parties that may be liable to Client arising from or relating to the
Claims, including claims under consumer protection statutes and laws and all information relating
thereto, all of which shall constitute the “Ass_igned Claims”,l] as also specified in Section 1.1.”
The assignment contract was`executed by individuals of majority, of sound mind, and with legal
authority to bind the respective parties The assignment was entered under Florida law. On
8/8/2016, MSP Recovery,l LLC entered into an assignment with MAO~MSO Recovery ll LLC,
Series Pl\/IPl, irrevocably assigning its right to recover payments as assigned from Preferred
l\/ledical Plan, lnc. Said assignment included the following language “[a]ssignor, hereby

irrevocably assigns sells transfers conveys sets over and delivers to Assignee and is successors

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and assigns all of Assignor’s right, title, ownership and interest in and to all Assigned
Claims. . .whether based in contract, tort, statutory right, and any and all rights`(including9 but not
limited to, subrogation) to pursue and/or recover monies that Assignor had, may have had, or has
asserted against any party in connection with the Assigned Claims, and all rights and claims against
primary payers and/or third parties that may be liable to Assignor arising from or relating to the
Assigned Claims including claims under consumer protection statutes and laws and all
information relating thereto, all of which shall constitute the “‘Assigned Claims.” This second
assignment contract was executed by individuals _of majority, of sound mind, and with legal
authority to bind the respective parties This second assignment-was entered under New York law.
Consideration was given between each party in executing these assignments
Respectfully submitted,

By: /s/ Marilvn T. l\/choldrick
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cnnrrrrcxrn or snuvrcr:

l hereby certify that a true copy of the above document was served upon the attorneys of
record for each party by Cl\/l/ECF on July 25 2018.

/s/ l\/larilvn T. l\/choldrick

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